Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 1 of 148




                         EXHIBIT “A”
                                                                                                                E-FILED IN OFFICE - RJ
                 Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 2 of 148 CLERK OF STATE COURT
                                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                                   22-C-00305-S4
                             IN THE STATE COURT OF GWINNETT COUNTY                                            1/18/2022 10:53 AM
                                                                                                             TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
     BIANCA JOHNSON
_______________________________________

_______________________________________
                                                                                    CIVIL ACTION          22-C-00305-S4
_______________________________________                                             NUMBER:

                                 PLAINTIFF


                      VS.

 BEHRINGER HARVARD PEACHTREE PROJECT OWNER, LLC,
_______________________________________

_______________________________________

_______________________________________

                                DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:                 BEHRINGER HARVARD PEACHTREE PROJECT OWNER, LLC,

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:
  Jensen Law, LLC
  Attn: Allen Hoffman
  6111 Peachtree Dunwoody Rd.
  Building G, Ste. 201
  Atlanta, Georgia 30328
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
                                 18th day of January, 2022
This _________________ day of ____________________________________,             20_____.


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                           Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                                                E-FILED IN OFFICE - RJ
                 Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 3 of 148 CLERK OF STATE COURT
                                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                                   22-C-00305-S4
                             IN THE STATE COURT OF GWINNETT COUNTY                                            1/18/2022 10:53 AM
                                                                                                             TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
     BIANCA JOHNSON
_______________________________________

_______________________________________
                                                                                    CIVIL ACTION          22-C-00305-S4
_______________________________________                                             NUMBER:

                                 PLAINTIFF


                      VS.

 GREYSTAR REAL ESTATE PARTNERS, LLC
_______________________________________

_______________________________________

_______________________________________

                                DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:                GREYSTAR REAL ESTATE PARTNERS, LLC

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:
  Jensen Law, LLC
  Attn: Allen Hoffman
  6111 Peachtree Dunwoody Rd.
  Building G, Ste. 201
  Atlanta, Georgia 30328
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
                                 18th day of January, 2022
This _________________ day of ____________________________________,             20_____.


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                           Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                                                 E-FILED IN OFFICE - RJ
                 Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 4 of 148 CLERK OF STATE COURT
                                                                                                           GWINNETT COUNTY, GEORGIA
                                                                                                                    22-C-00305-S4
                             IN THE STATE COURT OF GWINNETT COUNTY                                             1/18/2022 10:53 AM
                                                                                                              TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
     BIANCA JOHNSON
_______________________________________

_______________________________________                                                                   22-C-00305-S4
                                                                                    CIVIL ACTION
_______________________________________                                             NUMBER:

                                 PLAINTIFF


                      VS.

GS PEACHTREE PROJECT OWNER, LLC
_______________________________________

_______________________________________

_______________________________________

                                DEFENDANT




                                                        SUMMONS

                                             GS PEACHTREE PROJECT OWNER, LLC
TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:
  Jensen Law, LLC
  Attn: Allen Hoffman
  6111 Peachtree Dunwoody Rd.
  Building G, Ste. 201
  Atlanta, Georgia 30328
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
                                18th day of January, 2022
This _________________ day of ____________________________________,             20_____.


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                           Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                                                E-FILED IN OFFICE - RJ
                 Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 5 of 148 CLERK OF STATE COURT
                                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                                   22-C-00305-S4
                             IN THE STATE COURT OF GWINNETT COUNTY                                            1/18/2022 10:53 AM
                                                                                                             TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
     BIANCA JOHNSON
_______________________________________

_______________________________________
                                                                                    CIVIL ACTION      22-C-00305-S4
_______________________________________                                             NUMBER:

                                 PLAINTIFF


                      VS.
   JOHN DOES 1-3
_______________________________________

_______________________________________

_______________________________________

                                DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:                  JOHN DOES 1-3

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address is:
  Jensen Law, LLC
  Attn: Allen Hoffman
  6111 Peachtree Dunwoody Rd.
  Building G, Ste. 201
  Atlanta, Georgia 30328
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
                                 18th day of January, 2022
This _________________ day of ____________________________________,             20_____.


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                           Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
                                                                                            E-FILED IN OFFICE - RJ
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 6 of 148 CLERK OF STATE COURT
                                                                                    GWINNETT COUNTY, GEORGIA
                                                                                                22-C-00305-S4
                                                                                           1/18/2022 10:53 AM
                                                                                        TIANA P. GARNER, CLERK

                          IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

 BIANCA JOHNSON,                                )
                                                )
             Plaintiff.                         )
 v.                                             )           CIVIL ACTION FILE NO.
                                                )
 GREYSTAR REAL ESTATE                           )                          22-C-00305-S4
 PARTNERS, LLC, GS PEACHTREE                    )
 PROJECT OWNER, LLC, BEHRINGER                  )
 HARVARD PEACHTREE PROJECT                      )
 OWNER, LLC, AND JOHN DOES 1-3                  )
                                                )
             Defendants.

                                          COMPLAINT

       COMES NOW Plaintiff, Bianca Johnson, and files her Complaint through undersigned

counsel, and respectfully shows the Court as follows:

                                                    1.

       Plaintiff is a resident of the State of Georgia.

                                                    2.

       Defendant Greystar Real Estate Partners, LLC (“Greystar”) is a South Carolina corporation

and may be served with a copy of the Summons and Complaint by serving its registered agent

located at CT Corporation System, 2 Office Park Court, Suite 103, Columbia, South Carolina,

29223. Defendant is subject to the jurisdiction of this Court. Venue is proper.

                                                    3.

       Defendant GS Peachtree Project Owner, LLC (“Peachtree Project”) is a South Carolina

corporation and may be served with a copy of the Summons and Complaint by serving its

registered agent located at CT Corporation System, 289 S. Culver Street, Lawrenceville, Georgia,

30046. Defendant is subject to the jurisdiction of this Court. Venue is proper.
        Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 7 of 148




                                                    4.

        Defendant Behringer Harvard Peachtree Project Owner, LLC (“Behringer Harvard”) is a

South Carolina corporation and may be served with a copy of the Summons and Complaint by

serving its registered agent located at CT Corporation System, 289 S. Culver Street, Lawrenceville,

Georgia, 30046. Defendant is subject to the jurisdiction of this Court. Venue is proper

                                                    5.

        John Does 1 – 3 (“Does”) are or may be individuals and/or entities with ownership

interest(s) in the Property at issue, parties responsible for managing, maintaining, cleaning and/or

keeping the common areas of the Property at issue safe for invitees, and/or parties who attempted

to repair, clear, and/or remediate the common areas, including the location of Plaintiff’s incident.

                                                    6.

        On July 12, 2020, Plaintiff was an invitee at Cyan on Peachtree, located at 3380 Peachtree

Road NE, Atlanta, Georgia, 30326 (“the Property”).

                                                    7.

        As Plaintiff was walking into the Property, Plaintiff slipped and fell in a liquid substance.

                                                    8.

        Defendants knew or should have known a hazardous condition existed and failed to take

action to remediate the hazardous condition or warn invitees of the hazardous condition.

                                                    9.

        There were no warnings in the area where the subject incident occurred of the hazardous

condition that existed at the time.

                                                   10.

        As a result of the fall, Plaintiff suffered injuries.




                                                    2
        Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 8 of 148




                                                11.

       Defendants caused this incident by failing to maintain the premises, failing to inspect the

premises, and/or failing to ensure the floor was free of hazards.

                                                12.

       Plaintiff’s fall was caused solely by Defendants’ negligence.

                                                13.

       Defendants were negligent because they failed to maintain, inspect, and clean the premises

where Plaintiff fell, even though they had superior, actual, and/or constructive knowledge of the

hazardous condition.



                                COUNT I: PREMISES LIABILITY

                                                14.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.

                                                15.

       Plaintiff was an invitee on the Property at the time of the incident.

                                                16.

       Defendants had a duty to exercise ordinary care to keep the Property safe for invitees,

including floors.

                                                17.

       Defendants failed to exercise that duty by failing to maintain, inspect and/or properly

cleaning in the area which caused Plaintiff’s injuries.




                                                 3
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 9 of 148




                                                 18.

       Defendants failed to exercise that duty by failing to ensure their floors were secure.

                                                 19.

       Defendants’ failure and the corresponding actions described in this Complaint constitute

negligence.

                                                 20.

       As a direct and proximate result of Defendants’ negligence, Plaintiff suffered bodily

injuries, emotional injuries, continuing pain, suffering and discomfort, diminished quality of life,

and medical expenses.

                                                 21.

       As a direct and proximate result of Defendants’ negligence, Plaintiff suffered injuries and

damages. Plaintiff is entitled to monetary damages from Defendants to compensate her for the

following elements of damage:

               a.       Medical expense;

               b.       Pain and suffering;

               c.       Mental anguish;

               d.       Lost wages; and

               e.       Diminished quality of life.

                                                 22.

       As a proximate result of Defendants’ negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center          $       244.00
                   Taylor Chiropractic                     $     6,755.00
                   Comprehensive Spine & Pain              $   372,389.60
                   Regional Medical Group                  $     1,357.00


                                                  4
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 10 of 148




                   Perimeter Anesthesia                     $      4,595.00
                   TOTAL SPECIAL DAMAGES                    $    388,140.60

                                                  23.

          Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney’s fees, costs,

and expenses, pursuant to O.C.G.A. § 13-6-11.

          WHEREFORE, Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney’s fees, costs, expenses

pursuant to O.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                              COUNT II: VICARIOUS LIABILITY

                                                  24.

          Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.

                                                  25.

          At all times relevant to this action, John Does and/or employed individuals of Defendants,

were responsible for inspecting, cleaning and maintaining the area where Plaintiff was injured.

                                                  26.

          Defendants are responsible for the conduct of its employees and/or agents under the

doctrines of respondeat superior, agency or apparent agency.




                                                   5
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 11 of 148




                                                27.

       The employees and/or agents had a duty to exercise ordinary care to keep the Property safe

for invitees, including the area where Plaintiff was injured.

                                                28.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly clean the floors, which caused Plaintiff’s injuries.

                                                29.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly cleaning the floors, which caused Plaintiff’s injuries.

                                                30.

       As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered bodily injuries, emotional injuries,

continuing pain, suffering and discomfort, diminished quality of life, and medical expenses.

                                                31.

       As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered injuries and damages. Plaintiff is

entitled to monetary damages from Defendants to compensate her for the following elements of

damage:

               f.      Medical expense;

               a.      Pain and suffering;

               b.      Mental anguish;

               c.      Lost wages; and

               d.      Diminished quality of life.




                                                 6
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 12 of 148




                                                  32.

          As a proximate result of the Employees’ negligence, for which Defendants are vicariously

liable, Plaintiff suffered special damages no less than as follows:

                   Kaiser Gwinnett Medical Center           $        244.00
                   Taylor Chiropractic                      $      6,755.00
                   Comprehensive Spine & Pain               $    372,389.60
                   Regional Medical Group                   $      1,357.00
                   Perimeter Anesthesia                     $      4,595.00
                   TOTAL SPECIAL DAMAGES                    $    388.140.60


                                                  33.

          Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney’s fees, costs,

and expenses, pursuant to O.C.G.A. § 13-6-11.

          WHEREFORE, Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney’s fees, costs, expenses

pursuant to O.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                   COUNT III: NEGLIGENT TRAINING & SUPERVISION

                                                  34.

          Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.




                                                   7
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 13 of 148




                                                35.

       Defendants are required to adopt policies and procedures to ensure sure that appropriate

inspections, cleaning and maintenance were performed on the premises.

                                                36.

       Defendants are required to train its employees concerning safety procedures for inspecting,

repairing, cleaning and maintaining the premises.

                                                37.

       Defendants are negligent for failing to adopt policies and procedures to make sure that

appropriate inspections, cleaning, and maintenance were performed on the property.

                                                38.

       Defendants are negligent for failing to train its Employees concerning safety procedures

for inspecting, cleaning and maintaining the premises.

                                                39.

       Defendants were negligent in the training and supervising of employees.

                                                30.

       Alternatively, Defendants were negligent by failing to ensure its Employees followed its

safety procedures for inspecting, cleaning and maintaining the premises where Plaintiff was

injured.

                                                41.

       As a result of Defendants’ negligence, Plaintiff was injured.

                                                42.

       As a result of Defendants’ negligence in training and supervising its Employees, Plaintiff was

injured.




                                                 8
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 14 of 148




                                                 43.

       As a direct and proximate result of Defendants’ negligence, Plaintiff is entitled to monetary

damages from Defendants to compensate her for the following elements of damage:

               a.       Medical expense;

               b.       Pain and suffering;

               c.       Mental anguish;

               d.       Lost wages, and

               e.       Diminished quality of life.

                                                 44.

       As a proximate result of Defendants’ negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center          $       244.00
                   Taylor Chiropractic                     $     6,755.00
                   Comprehensive Spine & Pain              $   372,389.60
                   Regional Medical Group                  $     1,357.00
                   Perimeter Anesthesia                    $     4,595.00
                   TOTAL SPECIAL DAMAGES                   $   388.140.60


                                                 45.

       Defendants have been stubbornly litigious, acted in bad faith, and has caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney’s fees, costs,

and expenses, pursuant to O.C.G.A. § 13-6-11.

       WHEREFORE, Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney’s fees, costs, expenses



                                                  9
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 15 of 148




pursuant to O.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

          This the 18th day of January, 2022.

                                                     /s/ Allen Hoffman
                                                     Eric L. Jensen
                                                     Georgia Bar No. 391259
                                                     Allen Hoffman
                                                     Georgia Bar No. 964123
                                                     Riley B. Liu
                                                     Georgia Bar No.: 879655
                                                     Jessica Burkhart
                                                     Georgia Bar No. 493002
                                                     Attorneys for Plaintiff



Jensen Law, LLC
6111 Peachtree Dunwoody Road
Building G, Suite 201
Atlanta, Georgia 30328
Telephone: (404) 842-9380
Facsimile: (678) 904-3110
ejensen@eljlegal.com
rliu@eljlegal.com
jburkhart@eljlegal.com
ahoffman@eljlegal.com




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                                                                                  E-FILED IN OFFICE - RJ
          Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 16 of 148CLERK OF STATE COURT
                                                                          GWINNETT COUNTY, GEORGIA
                                                                                    22-C-00305-S4
                                                                               1/18/2022 10:53 AM
                                                                               TIANA P. GARNER, CLERK

                                               GWINNETT
                               x

                                                       22-C-00305-S4




BIANCA JOHNSON                               GREYSTAR REAL ESTATE PARTNERS, LLC

                                             GS PEACHTREE PROJECT OWNER, LLC

                                           BEHRINGER HARVARD PEACHTREE PROJECT OWNER, LLC

                                             JOHN DOES 1-3


                 Eric Jensen                            391259




      x




x
                                                                      E-FILED IN OFFICE - JM
Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 17 of 148CLERK OF STATE COURT
                                                                GWINNETT COUNTY, GEORGIA
                                                                         22-C-00305-S4
                                                                    1/25/2022 12:06 PM
                                                                   TIANA P. GARNER, CLERK
                                                                      E-FILED IN OFFICE - JM
Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 18 of 148CLERK OF STATE COURT
                                                                GWINNETT COUNTY, GEORGIA
                                                                         22-C-00305-S4
                                                                    1/25/2022 12:06 PM
                                                                   TIANA P. GARNER, CLERK
      Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 19 of 148

                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   01/25/2022
                                                                                                   CT Log Number 540934275
TO:         Elena Diaz
            Greystar Real Estate Partners, LLC
            465 MEETING ST STE 500
            CHARLESTON, SC 29403-4832

RE:         Process Served in South Carolina

FOR:        Greystar Real Estate Partners, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Re: BIANCA JOHNSON // To: Greystar Real Estate Partners, LLC
DOCUMENT(S) SERVED:                              --
COURT/AGENCY:                                    None Specified
                                                 Case # 22C00305S4
NATURE OF ACTION:                                Personal Injury - Failure to Maintain Premises in a Safe Condition
ON WHOM PROCESS WAS SERVED:                      CT Corporation System, Columbia, SC
DATE AND HOUR OF SERVICE:                        By Process Server on 01/25/2022 at 12:51
JURISDICTION SERVED :                            South Carolina
APPEARANCE OR ANSWER DUE:                        None Specified
ATTORNEY(S) / SENDER(S):                         None Specified
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 01/25/2022, Expected Purge Date:
                                                 01/30/2022

                                                 Image SOP

                                                 Email Notification, Paul Henderson paul.henderson@greystar.com

                                                 Email Notification, Elena Diaz ctsop@greystar.com

                                                 Email Notification, Jill Streett jill.streett@greystar.com

                                                 Email Notification, John Napier jnapier@greystar.com

REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                 2 Office Park Court
                                                 Suite 103
                                                 Columbia, SC 29223
                                                 866-203-1500
                                                 DealTeam@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / SK
      Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 20 of 148

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/25/2022
                                                                                                    CT Log Number 540934275
TO:         Elena Diaz
            Greystar Real Estate Partners, LLC
            465 MEETING ST STE 500
            CHARLESTON, SC 29403-4832

RE:         Process Served in South Carolina

FOR:        Greystar Real Estate Partners, LLC (Domestic State: DE)




advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 2 of 2 / SK
             Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 21 of 148 E-FILED IN OFFICE - RJ
                                                                                                           CLERK OF STATE COURT
                                                                                                       GWINNETT COUNTY. GEORGIA
                                                                                                                22-C-00305-S4
                            IN THE STATE COURT OF GWINNETT COUNTY                                           1/1812022 10:53 AM
                                                                                                           TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
       BIANCA JOHNSON



                                                                                     CIVIL ACTION       22-C-00305-S4
                                                                                     NUMBER:

                                  PLAINTIFF




 GREYSTAR REAL ESTATE PARTNERS,LLC




                                DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:                 GREYSTAR REAL ESTATE PARTNERS,LLC

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
  Jensen Law,LLC
  Attn: Allen Hoffman
  6111 Peachtree Dunwoody Rd.
  Building G, Ste. 201
  Atlanta, Georgia 30328

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.
                                  18th day of January, 2022
This                     day of                                           ,     20


                                                                            Tiana P. Garner
                                                                           Clerk of State Court




                                                                           By
                                                                                        Deputy Clgye

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
      Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 22 of 148
                                                                                         E-FILED IN OFFICE - RJ
                                                                                       CLERK OF STATE COURT
                                                                                   GVVINNETT COUNTY, GEORGIA
                                                                                              22-C-00305-S4
                                                                                          1/18/2022 10:53 AM
                                                                                       TIANA P. GARNER,CLERK

                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

 BIANCA JOHNSON,
                                                                    •
             Plaintiff.
 V.                                                        CIVIL ACTION FILE NO.

GREYSTAR REAL ESTATE                                                      22-C-00305-S4
PARTNERS,LLC, GS PEACHTREE
PROJECT OWNER,LLC,BEHRINGER
HARVARD PEACHTREE PROJECT
OWNER,LLC,AND JOHN DOES 1-3

             Defendants.

                                          COMPLAINT

        COMES NOW Plaintiff, Bianca Johnson, and files her Complaint through undersigned

counsel, and respectfully shows the Court as follows:

                                                  1.

       Plaintiff is a resident of the State of Georgia.

                                                 2.

        Defendant Greystar Real Estate Partners, LLC("Greystar")is a South Carolina corporation

and may be served with a copy of the Summons and Complaint by serving its registered agent

located at CT Corporation System, 2 Office Park Court, Suite 103, Columbia, South Carolina,

29223. Defendant is subject to the jurisdiction of this Court. Venue is proper.

                                                  3.

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corporation and may be served with a copy of the Summons and Complaint by serving its

registered agent located at CT Corporation System, 289 S. Culver Street, Lawrenceville, Georgia,

30046. Defendant is subject to the jurisdiction of this Court. Venue is proper.
    Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 23 of 148




                                                   4.

       Defendant Behringer Harvard Peachtree Project Owner, LLC ("Behringer Harvard") is a

South Carolina corporation and may be served with a copy of the Summons and Complaint by

serving its registered agent located at CT Corporation System,289 S. Culver Street, Lawrenceville,

Georgia, 30046. Defendant is subject to the jurisdiction of this Court. Venue is proper

                                                   5.

       John Does 1 — 3 ("Does") are or may be individuals and/or entities with ownership

interest(s) in the Property at issue, parties responsible for managing, maintaining, cleaning ancUor

keeping the common areas of the Property at issue safe for invitees, and/or parties who attempted

to repair, clear, and/or remediate the common areas, including the location of Plaintiff's incident.

                                                   6.

       On July 12, 2020, Plaintiff was an invitee at Cyan on Peachtree, located at 3380 Peachtree

Road NE, Atlanta, Georgia, 30326("the Property").

                                                    7.

        As Plaintiff was walking into the Property, Plaintiff slipped and fell in a liquid substance.

                                                    8.

       Defendants knew or should have known a hazardous condition existed and failed to take

action to remediate the hazardous condition or warn invitees of the hazardous condition.

                                                    9.

        There were no warnings in the area where the subject incident occurred of the hazardous

condition that existed at the time.

                                                   10.

        As a result of the fall, Plaintiff suffered injuries.




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                                                11.

       Defendants caused this incident by failing to maintain the premises, failing to inspect the

premises, and/or failing to ensure the floor was free of hazards.

                                                12.

       Plaintiff's fall was caused solely by Defendants' negligence.

                                                13.

       Defendants were negligent because they failed to maintain, inspect, and clean the premises

where Plaintiff fell, even though they had superior, actual, and/or constructive knowledge of the

hazardous condition.



                                COUNT I: PREMISES LIABILITY

                                                14.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.

                                                15.

       Plaintiff was an invitee on the Property at the time of the incident.

                                                16.

       Defendants had a duty to exercise ordinary care to keep the Property safe for invitees,

including floors.

                                                17.

       Defendants failed to exercise that duty by failing to maintain, inspect and/or properly

cleaning in the area which caused Plaintiff's injuries.




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                                                18.

       Defendants failed to exercise that duty by failing to ensure their floors were secure.

                                                19.

       Defendants' failure and the corresponding actions described in this Complaint constitute

negligence.

                                                20.

       As a direct and proximate result of Defendants' negligence, Plaintiff suffered bodily

injuries, emotional injuries, continuing pain, suffering and discomfort, diminished quality of life,

and medical expenses.

                                                21.

       As a direct and proximate result of Defendants' negligence, Plaintiff suffered injuries and

damages. Plaintiff is entitled to monetary damages from Defendants to compensate her for the

following elements of damage:

                        Medical expense;

               b.       Pain and suffering;

               c.       Mental anguish;

               d.       Lost wages; and

               e.       Diminished quality of life.

                                                22.

        As a proximate result of Defendants' negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center          $        244.00
                   Taylor Chiropractic                     $      6,755.00
                   Comprehensive Spine & Pain              $    372,389.60
                   Regional Medical Group                  $      1,357.00



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                  Perimeter Anesthesia                     $      4,595.00
                  TOTAL SPECIAL DAMAGES                    $    388,140.60

                                                 23.

       Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiffto

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                              COUNT II: VICARIOUS LIABILITY

                                                 24.

          Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as ifthey were restated verbatim.

                                                 25.

          At all times relevant to this action, John Does and/or employed individuals of Defendants,

were responsible for inspecting, cleaning and maintaining the area where Plaintiff was injured.

                                                 26.

          Defendants are responsible for the conduct of its employees and/or agents under the

doctrines ofrespondeat superior, agency or apparent agency.




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                                                27.

       The employees and/or agents had a duty to exercise ordinary care to keep the Property safe

for invitees, including the area where Plaintiff was injured.

                                                28.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly clean the floors, which caused Plaintiff's injuries.

                                                29.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly cleaning the floors, which caused Plaintiff's injuries.

                                                30.

        As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered bodily injuries, emotional injuries,

continuing pain, suffering and discomfort, diminished quality of life, and medical expenses.

                                                 31.

        As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered injuries and damages. Plaintiff is

entitled to monetary damages from Defendants to compensate her for the following elements of

damage:

               f.      Medical expense;

               a.      Pain and suffering;

                b.     Mental anguish;

                c.     Lost wages; and

               d.      Diminished quality of life.




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                                                32.

       As a proximate result ofthe Employees' negligence, for which Defendants are vicariously

liable, Plaintiff suffered special damages no less than as follows:

                 Kaiser Gwinnett Medical Center            $        244.00
                 Taylor Chiropractic                       $      6,755.00
                 Comprehensive Spine & Pain                $    372,389.60
                 Regional Medical Group                    $      1,357.00
                 Perimeter Anesthesia                      $      4,595.00
                 TOTAL SPECIAL DAMAGES                     $    388.140.60


                                                33.

       Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                  COUNT III: NEGLIGENT TRAINING & SUPERVISION

                                                 34.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.




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                                               35.

       Defendants are required to adopt policies and procedures to ensure sure that appropriate

inspections, cleaning and maintenance were performed on the premises.

                                               36.

       Defendants are required to train its employees concerning safety procedures for inspecting,

repairing, cleaning and maintaining the premises.

                                               37.

       Defendants are negligent for failing to adopt policies and procedures to make sure that

appropriate inspections, cleaning, and maintenance were performed on the property.

                                               38.

       Defendants are negligent for failing to train its Employees concerning safety procedures

for inspecting, cleaning and maintaining the premises.

                                               39.

       Defendants were negligent in the training and supervising of employees.

                                               30.

       Alternatively, Defendants were negligent by failing to ensure its Employees followed its

safety procedures for inspecting, cleaning and maintaining the premises where Plaintiff was

injured.

                                               41.

       As a result of Defendants' negligence, Plaintiff was injured.

                                               42.

       As a result ofDefendants' negligence in training and supervising its Employees,Plaintiff was

injured.




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                                                43.

       As a direct and proximate result ofDefendants' negligence, Plaintiff is entitled to monetary

damages from Defendants to compensate her for the following elements of damage:

              a.        Medical expense;

              b.        Pain and suffering;

              c.        Mental anguish;

              d.        Lost wages, and

              e.        Diminished quality of life.

                                                44.

       As a proximate result ofDefendants' negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center         $        244.00
                   Taylor Chiropractic                    $      6,755.00
                   Comprehensive Spine & Pain             $    372,389.60
                   Regional Medical Group                 $      1,357.00
                   Perimeter Anesthesia                   $      4,595.00
                   TOTAL SPECIAL DAMAGES                  $    388.140.60


                                                 45.

       Defendants have been stubbornly litigious, acted in bad faith, and has caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

       WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses
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pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

          This the 18th day of January, 2022.

                                                     /s/ Allen HoCfman
                                                     Eric L. Jensen
                                                     Georgia Bar No. 391259
                                                     Allen Hoffman
                                                     Georgia Bar No.964123
                                                     Riley B. Liu
                                                     Georgia Bar No.: 879655
                                                     Jessica Burkhart
                                                     Georgia Bar No.493002
                                                     Attorneysfor Plaintiff



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                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

BIANCA JOHNSON,

            Plaintiff.
V.                                                       CIVIL ACTION FILE NO.
                                                              22-C-00305-54
GREYSTAR     REAL      ESTATE
PARTNERS, LLC, GS PEACHTREE
PROJECT OWNER, LLC, BEHRINGER
HARVARD PEACHTREE PROJECT
OWNER,LLC, AND JOHN DOES 1-3

           Defendants.

PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO GREYSTAR REAL ESTATE
                          PARTNERS,LLC

       COMES NOW Plaintiff and requests pursuant to 0.C.G.A. § 9-11-36(a) that Defendant

Greystar Real Estate Partners, LLC ("GREYSTAR") admit the matters set forth below, or deny

same in writing, within forty-five (45) days from the date of service hereof. The definitions and

instructions in Plaintiff's First Interrogatories and Requests for Production of Documents to

GREYSTAR are incorporated herein by reference.

       GREYSTAR is requested to admit that:

                                               1.

       The property location that is the subject of the action is located at 3380 Peachtree Road

NE, Atlanta, Georgia, 30326("the Premises").

                                               2.

       GREYSTAR may be served with a copy of the summons and Complaint in this action at

CT Corporation System,2 Office Park Court, Suite 103, Columbia, South Carolina, 29223.

                                               3.

       GREYSTAR is subject to the jurisdiction of this Court.
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                                                 4.

       Venue is proper in this Court.

                                                 5.

       On July 12, 2020, Plaintiff was an invitee at the Premises, located at 3380 Peachtree Road

NE, Atlanta, Georgia, 30326.

                                                 6.

       On July 12, 2020,Plaintiff was walking into the Premises, and fell on a liquid substance.

                                                 7.

        There were no warnings in the area where the subject incident occurred of the hazardous

condition that existed at the time.

                                                 8.

        GREYSTAR had actual or constructive knowledge of the dangerous condition created by

the liquid substance at the time of Plaintiff's injury on July 12, 2020.

                                                 9.

        GREYSTAR caused this incident by failing to maintain and/or inspect the Premises

and/or properly secure its walking surfaces

                                                 10.

        GREYSTAR had a duty to exercise ordinary care to keep the Premises safe for invitees.

                                                 1 1.

        Plaintiffs injury was caused solely by GREYSTAR's negligence.

                                                 12.

        GREYSTAR employed individuals responsible for inspecting, and maintaining the area

where Plaintiff was injured.
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                                                13.

       GREYSTAR is responsible for the conduct of its employees committed within the scope

of their employment under the doctrine of respondeat superior, agency, or apparent agency.

                                                14.

       GREYSTAR's employees had a duty to exercise ordinary care to keep the premises and

approaches safe for invitees, including the area of the subject incident.

                                                 15.

       GREYSTAR is required to perform appropriate inspection, cleaning, stocking, and

maintenance on the Premises.

                                                 16.

       GREYSTAR's employees were responsible for inspecting, repairing, cleaning, and

maintaining the Premises.

                                                 17.

        GREYSTAR is required to adopt policies and procedures to ensure that the appropriate

inspection, cleaning, stocking, and maintenance are performed on the Premises.

                                                 18.

        GREYSTAR is required to train their employees and agents on the policies and

procedures to ensure that the appropriate inspection, cleaning, stocking, and maintenance are

performed on the Premises.

                                                 19.

        GREYSTAR failed to perform appropriate inspection, cleaning, stocking, and

maintenance on the Premises on the date ofthe incident at issue.
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                                               20.

       GREYSTAR failed to train their employees and agents on the policies and procedures to

ensure that the appropriate inspection, cleaning, stocking, and maintenance were performed on

the Premises on the date ofthe incident at issue.

                                               21.

       GREYSTAR was negligent in failing to adopt appropriate policies and procedures to

make sure that appropriate inspections, cleaning, stocking, and maintenance were performed on

the premises.

                                               22.

       GREYSTAR was negligent in failing to train its employees concerning safety procedures

for inspecting, cleaning, stocking, and maintaining the Premises.

                                               23.

        As a result of GREYSTAR's negligence in training and supervising its employees,

Plaintiff was injured on July 12, 2020.

                                                24.

        As a direct result of GREYSTAR's negligent actions, Plaintiff suffered severe injuries.

                                                25.

        As a proximate result of GREYSTAR's negligent actions, Plaintiff suffered severe

injuries.

                                                26.

        As a direct result of GREYSTAR's negligent actions, Plaintiff suffered emotional

injuries.
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                                               27.

        As a proximate result of GREYSTAR's negligent actions, Plaintiff suffered emotional

injuries.

                                               28.

        As a direct result of GREYSTAR's negligent actions, Plaintiff suffers continuing pain.

                                               29.

        As a proximate result of GREYSTAR's negligent actions, Plaintiff suffers continuing

pain.

                                               30.

        As a direct result of GREYSTAR's negligent actions, Plaintiff suffers continuing

discomfort.

                                               31.

        As a proximate result of GREYSTAR's negligent actions, Plaintiff suffers continuing

discomfort.

                                               32.

        As a direct result of GREYSTAR's negligent actions, Plaintiff has incurred medical

expenses.

                                               33.

        As a direct result of GREYSTAR's negligent actions, Plaintiff will continue to incur

medical expenses.

                                               34.

        As a proximate result of GREYSTAR's negligent actions, Plaintiff has incurred medical

expenses.
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                                               35.

       As a proximate result of GREYSTAR's negligent actions, Plaintiff will continue to incur

medical expenses.

                                               36.

        Plaintiff is entitled to recover all damages suffered as a result of the incident described

in the Complaint in this matter.

                                               37.

       Plaintiff is entitled to monetary damages from GREYSTAR to compensate her for past

and future medical expense.

                                               38.

       Plaintiff is entitled to monetary damages from GREYSTAR to compensate her for past

and future pain and suffering.

                                               39.

       As a proximate result of GREYSTAR's negligence, Plaintiff suffered special damages.

                                               40.

       GREYSTAR has been stubbornly litigious, acted in bad faith, and has caused Plaintiff to

incur unnecessary trouble and expense for which he is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.



       This the 19th day of January, 2022.

                                                     /s/ Allen Hoffman
                                                     Eric L. Jensen
                                                     Georgia Bar No. 391259
                                                     Jessica Burkhart
                                                     Georgia Bar 493002
                                                     Allen Hoffman
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                                        Georgia Bar No.964123
                                        Riley Liu
                                        Georgia Bar No. 879655
                                        Attorneysfor Plaintiffs)




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                          IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

BIANCA JOHNSON,

             Plaintiff.
V.                                                           CIVIL ACTION FILE NO.
                                                                  22-C-00305-54
GREYSTAR     REAL      ESTATE
PARTNERS, LLC, GS PEACHTREE
PROJECT OWNER, LLC, BEHRINGER
HARVARD PEACHTREE PROJECT
OWNER,LLC, AND JOHN DOES 1-3

             Defendants.

                          PLAINTIFF'S FIRST INTERROGATORIES TO
                          GREYSTAR REAL ESTATE PARTNERS,LLC
       COMES NOW Plaintiff and requests pursuant to 0.C.G.A. § 9-11-36(a) that Defendant

GREYSTAR REAL ESTATE PARTNERS, LLC ("GREYSTAR") to respond to the following

Interrogatories under oath within forty-five (45) days from the date of service of these

Interrogatories upon it.

                                          DEFINITIONS

        The following definitions shall apply to these Interrogatories:

        A.     "You" and "your" shall mean and refer to GREYSTAR, all its agents, employees,

attorneys, accountants, subsidiary or affiliated corporations, representatives or other persons acting

or purporting to act on its behalf.

        B.      "Person" shall mean and include any natural person, firm, partnership, trust, estate,

association, corporation, proprietorship,joint venture, governmental body, governmental agency or

commission or any other organization or entity whether or not recognized as such by law.

        C.      "Document" is intended to have the broadest permissible meaning under the Civil

Practice Act, and includes, without limitation, recordings, imprintings or otherwise preserving
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statements, images, sounds, and/or any other form of information, whether printed or recorded or

reproduced by any mechanical or electronic process, or written or produced by hand, books,

magazines, pamphlets, bulletins, publications, letters, emails, tweets, Facebook, Myspace, or other

social networking messages, telegraphs, telegrams, cables, notes, messages, diaries, calendars,

appointment books, time sheets, logs, schedules, memorandum, interoffice and intra-office

communications, reports, working papers, diagrams, drawings, drafts, tabulations, indexes,

statements, receipts, warranties, summaries, electronic mail transfers, teletypes, telefaxes,

telecopies, worksheets, meeting minutes, recordings, sketches, graphs, charts, engineering

notebooks, tapes, disks, electronic recording data sheets, data processing cards or other data

computations, photographs, movies, assignments, contracts, agreements, official documents and

legal instruments, annual reports and reports to shareholders and partners, and minutes or reports of

minutes of directors or executive boards or committees, advertising or promotional literature and

press releases, studies, analyses, agenda, telephone logs, jottings, announcements, instructions,

ledgers, checks (front and back), check stubs, bills, orders, records, or any other written, recorded,

transcribed, punched, taped, filmed or graphic matter however produced or reproduced.

       D.      "Relates to" or "relating to" shall be construed to include "refers to," "summarizes,"

"constitutes," "contains," "studies," "analyzes," "considers," "explains," "mentions," "shows,"

"discusses,""describes" or "comments upon."

       E.      "Communication" shall mean any verbal, written or other transmittal of words,

thoughts, ideas or images between or among persons or groups of persons whether face-to-face, by

letter, or by any other means.

       F.      "And" and "or" shall be construed conjunctively and disjunctively so as to require

the broadest possible response to the particular request.
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           G.      "Affiliates" shall mean and include any person or entity that directly or indirectly

    controls, is controlled by, or is under common control with another person or entity, with "control"

    meaning an ownership interest of more than 50 percent of the stock or other ownership interests or

    the ability to direct the voting of more than 50 percent ofthe voting rights ofan entity.

            H.     "Identify" means and requires GREYSTAR to provide the following information:

                  (a)       With respect to each natural person:

                          (1)       The person's full name;

                          (2)       The person's last known home address and telephone

                            number;

                          (3)       The person's last known business address and telephone

                                    number;

                          (4)       The name ofthe person's last known employer or business

                            affiliation; and

                          (5)       The person's last known title or business position.

                  (b)       With respect to a person other than a natural person:

                           (1)      Name;

                          (2)       Place ofincorporation, or location of where certificates of

                            partnership or association are filed; and

                           (3)      Principal place of business.

                   (c)      With respect to a document, either:

                          (1)       Produce the document pursuant to 0.C.G.A. § 9-11-34; or

                           (2)      Identify the author, date, recipient and type of document.
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                                             INTERROGATORIES

                                                          1.

               State the name and address of any person, including any party, who, to your knowledge,

    information or belief:

               (a)     Was an eyewitness to the incident complained of in this action;

               (b)     Has some knowledge of any fact or circumstance upon which your defense is

                       based;

               (c)     Has conducted any investigation relating to the incident complained of or the

                       background, employment, medical history or activities ofPlaintiff.

                                                          2.

               To your knowledge, information or belief, has any person identified in answering the

    preceding interrogatory given any statement or report in connection with this action? If so, describe

    such statement or report and give the name and address of the person having custody and control

    thereof.

                                                           3.

               Please identify any entity or person with any financial interest, lease or ownership interest in

    the premises where the incident occurred on the date ofthe incident.

                                                          4.

                To your knowledge, information or belief, are there any videotapes, photographs, plats or

        drawings ofthe scene of and/or the incident referred to in the complaint? If so, please describe such

        videotapes, photographs, plats or drawings and give the name and address of the person having

    custody and control thereof
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                                                        5.

            Please identify each person working on the premises with any duties for or related to the

    area where this incident occurred on the date of or at any time prior to the incident at issue.

                                                        6.

            Has any entity issued a policy ofliability insurance to you that would apply to the incident at

    issue? If so, state the names of all insurers providing liability insurance and give the limits of

    coverage ofeach such policy.

                                                        7.

            Has any insurer referred to above denied coverage or reserved its right to later deny

    coverage under any such policy of liability insurance? If so, please explain.

                                                        8.

            Do you contend that Plaintiff caused or contributed to the incident in question? If so, state

    with particularity each and every contention made in this regard.

                                                        9.

            If you intend to call any expert or technician as a witness at the trial of this action, state

    the subject matter on which he/she is expected to testify and state in detail the opinions held by

    each such expert or technician and give a complete summary of the grounds for each opinion

    held.

                                                         10.

            Please state in detail any policies and procedures concerning the inspection, cleaning,

    maintenance, or repair of the area where this incident occurred.
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                                                  11.

       In regard to any document that has not been produced on grounds of privilege, please

state the following:

      (a)       The date each document was generated;

      (b)       The person generating each document;

       (c)      The present custodian of each document;

      (d)       A description of each document.

                                                   2.

        Please identify each and every person working for you or on your behalf on the premises

where this incident occurred at any time, including the person's name, current address, current

employer and telephone number.

                                                  13.

        Have there ever been any complaints made about the area where this incident occurred?

If so, please state:

       (a)      The date(s) of each complaint;

       (b)      The person(s) making each complaint;

       (c)      The nature of each complaint;

       (d)      Any action taken as a result of each complaint.

                                                  14.

        Please identify each and every witness or employee in the vicinity ofthe area where Plaintiff

was injured. In regard to each employee, please state:

       (a)      The name ofeach person;

       (b)      The address of each person;
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       (c)     The telephone number of each person;

       (d)     The shift worked by each person if an employee;

       (e)     The job duties and responsibilities of each person if an employee.

                                                   15.

        Have there been any audits, inspections or evaluations of the specific area at issue in this

incident prior to or subsequent to the date of the incident?

                                                    16.

        Are there any individuals or entities not named as parties to this action that you believe are

liable or could be liable for Plaintiff's injuries and damages such that you would seek to apportion

damages to said individual or entity at trial? If there are, please identify all such individuals and/or

entities.

                                                    17.

        Identify the person or persons responsible for preparing your responses to these

Interrogatories, and identify each person who was consulted, and each document referred to, and

the process of preparing such responses.

                                                  18.

        Please describe any inspection procedures utilized in regard to the area where this

incident occurred.

                                                  19.

        Identify your policies and procedures with regard to ensuring that the walking areas at Cyan
on Peachtree, located at 3380 Peachtree Road NE,Atlanta, Georgia, 30326 are safely maintained.
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                                                20.

       Identify whether or not any employee or agent of GREYSTAR was notified of the

condition of the liquid substance prior to Plaintiff's injury. If so, please state who reported the

condition, what was said, when the condition was reported, and any action taken in response.

                                                21.

       Identify any citations, warnings, reprimands, suits, causes of action or other similar

notices you have received in the last five years regarding violation of any local, state, and/or

federal codes, rules, laws, or regulations.

                                                22.

       Identify any and all lawsuits you have been a party to in Georgia in the last 7 years. State

the parties,jurisdiction, brief description ofthe claims at issue, and the outcome.

       This the 19th day of January, 2022.

                                                      /s/Allen Hoffman
                                                      Eric L. Jensen
                                                      Georgia Bar No. 391259
                                                      Allen Hoffman
                                                      Georgia Bar No. 964123
                                                      Riley B. Liu
                                                      Georgia Bar No.: 879655
                                                      Jessica Burkhart
                                                      Georgia Bar No.493002
                                                      Attorneysfor Plaintiff



Jensen Law,LLC
6111 Peachtree Dunwoody Road
Building G, Suite 201
Atlanta, Georgia 30328
Telephone:(404)842-9380
Facsimile:(678)904-3110
ejensen@eljlegal.com
iburkhart@eljlegal.com
ahoffman@eljlegal.com
       Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 47 of 148



                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA
 BIANCA JOHNSON,                     )
                                     )
          Plaintiff.                 )
 V.                                  )         CIVIL ACTION FILE NO.
                                     )              22-C-00305-54
 GREYSTAR REAL ESTATE
 PARTNERS,LLC,GS PEACHTREE
 PROJECT OWNER,LLC,BEHRINGER
 HARVARD PEACHTREE PROJECT
 OWNER,LLC, AND JOHN DOES 1-3

             Defendants.

       PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
                  GREYSTAR REAL ESTATE PARTNERS,LLC


        COMES NOW Plaintiff and serves her first requests for production of documents on

 Defendant GREYSTAR REAL ESTATE PARTNERS, LLC ("GREYSTAR") pursuant to

0.C.G.A. § 9-11-34. GREYSTAR is requested to produce for inspection and copying the

 documents requested herein at the offices of counsel for Plaintiff, Jensen Law, LLC, 6111

Peachtree Dunwoody Road,Building G,Suite 201, Atlanta, Georgia 30328 no later than forty-five

(45)days after the date of service.

        GREYSTAR is further reminded that the provisions of 0.C.G.A. § 9-11-26(e) require a

 responding party to supplement its responses in the manner provided.

        Ifprivilege is claimed as to any document otherwise covered by this request for production,

 Plaintiff requests that each document as to which privilege is claimed be identified in a manner

 such that the Court may determine whether or not such document is entitled to the accorded

 privileged status. Specifically, state (a) the document's sender or author, recipient, date, type of

 document (e.g., letter, memorandum, record, etc.) and general subject matter; and (b) the basis

                                                                  stv
      Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 48 of 148



upon which you claim the privilege. Plaintiffrefers to and incorporates the "Definitions" provided

in her first Interrogatories to GREYSTAR.

       Please produce the following:

                                                 1.

       Any invoices, inspection reports, receipts, change orders, work orders, spreadsheets,

computer documents or other similar records concerning any audits, evaluations, maintenance,

cleaning or inspections of the area where Plaintiff was injured for the past five years.

                                                 2.

        All statements or reports collected referencing the incident at issue.

                                                 3.

        All videotapes, photographs, plats or drawings depicting the incident and/or area at issue

for four hours prior to the incident up to and including the time of the incident and thirty minutes

after the incident.

                                                 4.

        Any videotape, photograph,report, data, memoranda,handwritten notes or other document

reviewed by or generated by an individual identified in response to Interrogatories 1, 2, and/or 9.

                                                 5.

        Any documents obtained through a request for production of documents or subpoena in

relation to this case.

                                                 6.

        Any and all guidelines, manuals, memoranda or other documents.evidencing any policy or

procedure identified in response to Interrogatories 10, 18, or 19.
         Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 49 of 148
r.) •




                                        ..!    .   7.

          Any correspondence, memoranda, report, record or other documents concerning,

   referencing or depicting any complaints identified in response to Interrogatory 13.

                                                   8.

          Any incident report or other report concerning the incident described in the complaint.

                                                   9.

          Any maps, schematics, diagrams, drawings or other similar documents showing the layout

   of the area where this incident occurred.

                                                   10.

          Any and all leases or contracts with outside contractors or agencies for performance of

   maintenance services for the area where the subject incident occurred.

                                                   1 1.

          Any e-mail, interoffice correspondence, memoranda, report, telephone log, message or

   other documents concerning the subject incident.

                                                   12.

          Any changes made to policies, procedures, protocols, rules, regulations and guidelines

   since this incident.

                                                   13.

           Any surveillance videos taken on the day ofthe incident.

                                                   14.

          Documents containing policies, rules, procedures, for safely repairing common areas.

                                                   15.

          Documents relating to maintenance ofthe area where Plaintiff fell and injured herself.
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ci •




                                                16.

        Photographs or video ofthe subject area prior to the subject incident.



        This the 19th day of January, 2022.

                                                      /s/Allen Hoffman
                                                      Eric L. Jensen
                                                      Georgia Bar No. 391259
                                                      Allen Hoffman
                                                      Georgia Bar No. 964123
                                                      Riley B. Liu
                                                      Georgia Bar No.: 879655
                                                      Jessica Burkhart
                                                      Georgia Bar No.493002
                                                      Attorneysfor Plaintiff'



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  iburkhart@eljlegal.com
  ahoffmanAeljlegal.com
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/20/2022
                                                                                                    CT Log Number 540909641
TO:         Elena Diaz
            Greystar Real Estate Partners, LLC
            465 MEETING ST STE 500
            CHARLESTON, SC 29403-4832

RE:         Process Served in Georgia

FOR:        GS Peachtree Project Owner, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: Bianca Johnson // To: GS Peachtree Project Owner, LLC
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 22C00305S4
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Lawrenceville, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 01/20/2022 at 13:55
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/20/2022, Expected Purge Date:
                                                  01/25/2022

                                                  Image SOP

                                                  Email Notification, Paul Henderson paul.henderson@greystar.com

                                                  Email Notification, Elena Diaz ctsop@greystar.com

                                                  Email Notification, Jill Streett jill.streett@greystar.com

                                                  Email Notification, John Napier jnapier@greystar.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  289 S. Culver St.
                                                  Lawrenceville, GA 30046
                                                  866-203-1500
                                                  DealTeam@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 1 of 1 / GP
             Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 52 of 148 E-FILED IN OFFICE - RJ
                                                                                                            CLERK OF STATE COURT
                                                                                                        GVV1NNETT COUNTY, GEORGIA
                             IN THE STATE COURT OF GWINNETT COUNTY                                                  22-C-00305-S4
                                                                                                               1/18/2022 10:53 AM
                                                                                                            TIANA P. GARNER,CLERK
                                                 STATE OF GEORGIA
       BIANCA JOHNSON


                                                                                                       22-C-00305-S4
                                                                                     CIVIL ACTION
                                                                                     NUMBER:

                                  PLAINTIFF


                      VS.

GS PEACHTREE PROJECT OWNER,LLC




                                  DEFENDANT




                                                        SUMMONS

                            (6cPEACHTREE PROJECT OWNER,LLCD
TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
  Jensen Law,LLC
  Attn: Allen Hoffman
  6111 Peachtree Dunwoody Rd.
  Building G, Ste. 201
  Atlanta, Georgia 30328

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.
                                  18th day of January, 2022
This                     day of                                                 20


                                                                            Tiana P. Garner
                                                                           Clerk of State Court
                                                                                                          /7


                                                                           By
                                                                                        Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
      Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 53 of 148 E-FILED IN OFFICE - RJ
                                                                                       CLERK OF STATE COURT
                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                               22-C-00305-S4
                                                                                          1/18/2022 10:53 AM
                                                                                       TIANA P. GARNER,CLERK

                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

 BIANCA JOHNSON,

              Plaintiff.
 V.                                                         CIVIL ACTION FILE NO.

 GREYSTAR REAL ESTATE                                                     22-C-00305-S4
 PARTNERS,LLC, GS PEACHTREE
 PROJECT OWNER,LLC,BEHRINGER
 HARVARD PEACHTREE PROJECT
 OWNER,LLC, AND JOHN DOES 1-3

             Defendants.

                                          COMPLAINT

        COMES NOW Plaintiff, Bianca Johnson, and files her Complaint through undersigned

counsel, and respectfully shows the Court as follows:

                                                  1.

        Plaintiff is a resident ofthe State of Georgia.

                                                 2.

        Defendant Greystar Real Estate Partners,LLC("Greystar")is a South Carolina corporation

and may be served with a copy of the Summons and Complaint by serving its registered agent

located at CT Corporation System, 2 Office park Court, Suite 103, Columbia, South Carolina,_

29223. Defendant is'subject to the jurisdiction of this Court. Venue is proper.

                                                 3.

        Defendant GS Peachtree Project Owner, LLC ("Peachtree Project") is a South Carolina

corporation and may be served with a copy of the Summons and Complaint by serving its

registered agent located at CT Corporation System,289 S. Culver Street, Lawrenceville, Georgia,

30046. Defendant is subject to the jurisdiction of this Court. Venue is proper.
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                                                    4.

        Defendant Behringer Harvard Peachtree Project Owner, LLC ("Behringer Harvard") is a

South Carolina corporation and may be served with a copy of the Summons and Complaint by

serving its registered agent located at CT Corporation System,289 S. Culver Street, Lawrenceville,

Georgia, 30046. Defendant is subject to the jurisdiction of this Court. Venue is proper

                                                    5.

        John Does 1 — 3 ("Does") are or may be individuals and/or entities with ownership

interest(s) in the Property at issue, parties responsible for managing, maintaining, cleaning and/or

keeping the common areas of the Property at issue safe for invitees, and/or parties who attempted

to repair, clear, and/or remediate the common areas, including the location ofPlaintiff's incident.

                                                    6.

        On July 12, 2020, Plaintiff was an invitee at Cyan on Peachtree, located at 3380 Peachtree

Road NE, Atlanta, Georgia, 30326("the Property").

                                                    7.

        As Plaintiff was walking into the Property, Plaintiff slipped and fell in a liquid substance.

                                                    8.

        Defendants knew or should have known a hazardous condition existed and failed to take

action to remediate the hazardous condition or warn invitees of the hazardous condition.

                                                    9.

       There were no warnings in the area where the subject incident occurred of the hazardous

condition that existed at the time.

                                                   10.

        As a result of the fall, Plaintiff suffered injuries.




                                                    2
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                                                 11.

       Defendants caused this incident by failing to maintain the premises, failing to inspect the

premises, and/or failing to ensure the floor was free of hazards.

                                                 12.

       Plaintiff's fall was caused solely by Defendants' negligence.

                                                 13.

       Defendants were negligent because they failed to maintain, inspect, and clean the premises

where Plaintiff fell, even though they had superior, actual, and/or constructive knowledge of the

hazardous condition.



                                COUNT I: PREMISES LIABILITY

                                                 14.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.

                                                15.

       Plaintiff was an invitee on the Property at the time of the incident.

                                                16.

       Defendants had a duty to exercise ordinary care to keep the Property safe for invitees,

including floors.

                                                17.

       Defendants failed to exercise that duty by failing to maintain, inspect and/or properly

cleaning in the area which caused Plaintiff's injuries.




                                                 3
    Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 56 of 148




                                                 18.

       Defendants failed to exercise that duty by failing to ensure their floors were secure.

                                                 19.

       Defendants' failure and the corresponding actions described in this Complaint constitute

negligence.

                                                20.

       As a direct and proximate result of Defendants' negligence, Plaintiff suffered bodily

injuries, emotional injuries, continuing pain, suffering and discomfort, diminished quality of life,

and medical expenses.

                                                21.

       As a direct and proximate result of Defendants' negligence, Plaintiff suffered injuries and

damages. Plaintiff is entitled to monetary damages from Defendants to compensate her for the

following elements of damage:

               a.       Medical expense;

               b.       Pain and suffering;

               c.       Mental anguish;

               d.       Lost wages; and

               e.       Diminished quality of life.

                                                22.

       As a proximate result of Defendants' negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center         $        244.00
                   Taylor Chiropractic                    $      6,755.00
                   Comprehensive Spine & Pain             $    372,389.60
                   Regional Medical Group                 $      1,357.00


                                                 4
    Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 57 of 148




                   Perimeter Anesthesia                     $      4,595.00
                   TOTAL SPECIAL DAMAGES                    $    388,140.60

                                                  23.

          Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                              COUNT II: VICARIOUS LIABILITY

                                                 24.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.

                                                 25.

          At all times relevant to this action, John Does and/or employed individuals of Defendants,

were responsible for inspecting, cleaning and maintaining the area where Plaintiff was injured.

                                                 26.

          Defendants are responsible for the conduct of its employees and/or agents under the

doctrines of respondeat superior, agency or apparent agency.




                                                  5
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                                                27.

       The employees and/or agents had a duty to exercise ordinary care to keep the Property safe

for invitees, including the area where Plaintiff was injured.

                                                28.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly clean the floors, which caused Plaintiffs injuries.

                                                29.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly cleaning the floors, which caused Plaintiffs injuries.

                                                30.

       As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered bodily injuries, emotional injuries,

continuing pain, suffering and discomfort, diminished quality of life, and medical expenses.

                                                31.

       As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered injuries and damages. Plaintiff is

entitled to monetary damages from Defendants to compensate her for the following elements of

damage:

               f.      Medical expense;

               a.      Pain and suffering;

               b.      Mental anguish;

               c.      Lost wages; and

               d.      Diminished quality of life.




                                                 6
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                                                  32.

          As a proximate result of the Employees' negligence, for which Defendants are vicariously

liable, Plaintiff suffered special damages no less than as follows:

                   Kaiser Gwinnett Medical Center           $        244.00
                   Taylor Chiropractic                      $      6,755.00
                   Comprehensive Spine & Pain               $    372,389.60
                   Regional Medical Group                   $      1,357.00
                   Perimeter Anesthesia                     $      4,595.00
                   TOTAL SPECIAL DAMAGES                    $    388.140.60


                                                  33.

          Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                   COUNT III: NEGLIGENT TRAINING & SUPERVISION

                                                 34.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.




                                                  7
    Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 60 of 148




                                               35.

       Defendants are required to adopt policies and procedures to ensure sure that appropriate

inspections, cleaning and maintenance were performed on the premises.

                                               36.

       Defendants are required to train its employees concerning safety procedures for inspecting,

repairing, cleaning and maintaining the premises.

                                               37.

       Defendants are negligent for failing to adopt policies and procedures to make sure that

appropriate inspections, cleaning, and maintenance were performed on the property.

                                               38.

       Defendants are negligent for failing to train its Employees concerning safety procedures

for inspecting, cleaning and maintaining the premises.

                                               39.

       Defendants were negligent in the training and supervising ofemployees.

                                               30.

       Alternatively, Defendants were negligent by failing to ensure its Employees followed its

safety procedures for inspecting, cleaning and maintaining the premises where-Plaintiff was

injured.

                                               41.

       As a result of Defendants' negligence, Plaintiff was injured.

                                               42.

       As a result ofDefendants' negligence in training and supervising its Employees,Plaintiff was

injured.




                                                8
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                                                43.

       As a direct and proximate result ofDefendants' negligence, Plaintiff is entitled to monetary

damages from Defendants to compensate her for the following elements of damage:

               a.       Medical expense;

               b.       Pain and suffering;

               c.       Mental anguish;

               d.       Lost wages, and

               e.       Diminished quality of life.

                                                44.

       As a proximate result of Defendants' negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center         $       244.00
                   Taylor Chiropractic                    $     6,755.00
                   Comprehensive Spine & Pain             $   372,389.60
                   Regional Medical Group                 $     1,357.00
                   Perimeter Anesthesia                   $     4,595.00
                   TOTAL SPECIAL DAMAGES                  $   388.140.60


                                                45.

       Defendants have been stubbornly litigious, acted in bad faith, and has caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

       WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses



                                                 9
    Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 62 of 148




pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

          This the 18th day of January, 2022.

                                                     /s/Allen Hoffman
                                                     Eric L. Jensen
                                                     Georgia Bar No. 391259
                                                     Allen Hoffman
                                                     Georgia Bar No. 964123
                                                     Riley B. Liu
                                                     Georgia Bar No.: 879655
                                                     Jessica Burkhart
                                                     Georgia Bar No. 493002
                                                     Attorneysfor Plaintiff



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                                                10
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                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA
 BIANCA JOHNSON,                     )
                                     )
          Plaintiff.                 )
 V.                                  )         CIVIL ACTION FILE NO.
                                     )             22-C-00305-S4
 GREYSTAR REAL ESTATE                )
 PARTNERS,LLC, GS PEACHTREE          )
 PROJECT OWNER,LLC,BEHRINGER )
 HARVARD PEACHTREE PROJECT           )
 OWNER,LLC, AND JOHN DOES 1-3        )
                                     )
         Defendants.

    PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO GS
                    PEACHTREE PROJECT OWNER,LLC


        COMES NOW Plaintiff and serves her first requests for production of documents on

Defendant GS PEACHTREE PROJECT OWNER("GS PEACHTREE") pursuant to 0.C.G.A. §

9-11-34. GS PEACHTREE is requested to produce for inspection and copying the documents

requested herein at the offices of counsel for Plaintiff, Jensen Law, LLC, 6111 Peachtree

Dunwoody Road, Building G, Suite 201, Atlanta, Georgia 30328 no later than forty-five(45)days

after the date of service.

        GS PEACHTREE is further reminded that the provisions of0.C.G.A. § 9-11-26(e)require

a responding party to supplement its responses in the manner provided.

        If privilege is claimed as to any document otherwise covered by this request for production,

Plaintiff requests that each document as to which privilege is claimed be identified in a manner

such that the Court may determine whether or not such document is entitled to the accorded

privileged status. Specifically, state (a) the document's sender or author, recipient, date, type of

document (e.g., letter, memorandum, record, etc.) and general subject matter; and (b) the basis
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upon which you claim the privilege. Plaintiff refers to and incorporates the "Definitions" provided

in her first Interrogatories to GS PEACHTREE.

        Please produce the following:

                                                 1.

        Any invoices, inspection reports, receipts, change orders, work orders, spreadsheets,

computer documents or other similar records concerning any audits, evaluations, maintenance,

cleaning or inspections of the area where Plaintiff was injured for the past five years.

                                                 2.

        All statements or reports collected referencing the incident at issue.

                                                 3.

        All videotapes, photographs, plats or drawings depicting the incident and/or area at issue

for four hours prior to the incident up to and including the time ofthe incident and thirty minutes

after the incident.

                                                 4.

        Any videotape, photograph, report, data, memoranda, handwritten notes or other document

reviewed by or generated by an individual identified in response to Interrogatories 1, 2, and/or 9.

                                                 5.

        Any documents obtained through a request for production of documents or subpoena in

relation to this case.

                                                 6.

        Any and all guidelines, manuals, memoranda or other documents evidencing any policy or

procedure identified in response to Interrogatories 10, 18, or 19.
     Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 65 of 148




                                                7.

        Any correspondence, memoranda, report, record or other documents concerning,

referencing or depicting any complaints identified in response to Interrogatory 13.

                                                8.

        Any incident report or other report concerning the incident described in the complaint.

                                                9.

        Any maps, schematics, diagrams, drawings or other similar documents showing the layout

ofthe area where this incident occurred.

                                               10.

        Any and all leases or contracts with outside contractors or agencies for performance of

maintenance services for the area where the subject incident occurred.

                                               1 1.

        Any e-mail, interoffice correspondence, memoranda, report, telephone log, message or

other documents concerning the subject incident.

                                               12.

        Any changes made to policies, procedures, protocols, rules, regulations and guidelines

since this incident.

                                               13.

        Any surveillance videos taken on the day of the incident.

                                               14.

       Documents containing policies, rules, procedures, for safely repairing common areas.

                                               15.

        Documents relating to maintenance ofthe area where Plaintiff fell and injured herself.
    Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 66 of 148




                                              16.

      Photographs or video ofthe subject area prior to the subject incident.



      This the 19th day of January, 2022.

                                                    /s/ Allen Hoffman
                                                    Eric L. Jensen
                                                    Georgia Bar No. 391259
                                                    Allen Hoffman
                                                    Georgia Bar No. 964123
                                                    Riley B. Liu
                                                    Georgia Bar No.: 879655
                                                    Jessica Burkhart
                                                    Georgia Bar No.493002
                                                    Attorneysfor Plaintiff



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jburkhart(a,eljlegal.com
ahoffman(a,eljlegal.com
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                          IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

BIANCA JOHNSON,

             Plaintiff.
V.                                                          CIVIL ACTION FILE NO.
                                                                22-C-00305-54
GREYSTAR     REAL      ESTATE
PARTNERS, LLC, GS PEACHTREE
PROJECT OWNER, LLC, BEHRINGER
HARVARD PEACHTREE PROJECT
OWNER,LLC, AND JOHN DOES 1-3

             Defendants.

                          PLAINTIFF'S FIRST INTERROGATORIES TO
                            GS PEACHTREE PROJECT OWNER,LLC
       COMES NOW Plaintiff and requests pursuant to 0.C.G.A. § 9-11-36(a) that Defendant GS

PEACHTREE PROJECT OWNER, LLC ("GS PEACHTREE") to respond to the following

Interrogatories under oath within forty-five (45) days from the date of service of these

Interrogatories upon it.

                                          DEFINITIONS

       The following definitions shall apply to these Interrogatories:

        A.     "You" and "your" shall mean and refer to GS PEACHTREE, all its agents,

cmployees, attorneys, accountants, subsidiary or affiliated corporations, representatives or other

persons acting or purporting to act on its behalf. .

       B.      "Person" shall mean and include any natural person, firm, partnership, trust, estate,

association, corporation, proprietorship,joint venture, governmental body, governmental agency or

commission or any other organization or entity whether or not recognized as such by law.

       C.      "Document" is intended to have the broadest permissible meaning under the Civil

Practice Act, and includes, without limitation, recordings, imprintings or otherwise preserving
     Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 68 of 148




statements, images, sounds, and/or any other form of information, whether printed or recorded or

reproduced by any mechanical or electronic process, or written or produced by hand, books,

magazines, pamphlets, bulletins, publications, letters, emails, tweets, Facebook, Myspace, or other

social networking messages, telegraphs, telegrams, cables, notes, messages, diaries, calendars,

appointment books, time sheets, logs, schedules, memorandum, interoffice and intra-office

communications, reports, working papers, diagrams, drawings, drafts, tabulations, indexes,

statements, receipts, warranties, summaries, electronic mail transfers, teletypes, telefaxes,

telecopies, worksheets, meeting minutes, recordings, sketches, graphs, charts, engineering

notebooks, tapes, disks, electronic recording data sheets, data processing cards or other data

computations, photographs, movies, assignments, contracts, agreements, official documents and

legal instruments, annual reports and reports to shareholders and partners, and minutes or reports of

minutes of directors or executive boards or committees, advertising or promotional literature and

press releases, studies, analyses, agenda, telephone logs, jottings, announcements, instructions,

ledgers, checks (front and back), check stubs, bills, orders, records, or any other written, recorded,

transcribed, punched,taped, filmed or graphic matter however produced or reproduced.

       D.      "Relates to" or "relating to" shall be construed to include "refers to," "summarizes,"

"constitutes," "contains," "studies," "analyzes," "considers," "explains," "mentions," "shows,"

"discusses," "describes" or "comments upon."

       E.      "Communication" shall mean any verbal, written or other transmittal of words,

thoughts, ideas or images between or among persons or groups of persons whether face-to-face, by

letter, or by any other means.

        F.     "And" and "or" shall be construed conjunctively and disjunctively so as to require

the broadest possible response to the particular request.
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        G.     "Affiliates" shall mean and include any person or entity that directly or indirectly

controls, is controlled by, or is under common control with another person or entity, with "control"

meaning an ownership interest of more than 50 percent of the stock or other ownership interests or

the ability to direct the voting of more than 50 percent ofthe voting rights of an entity.

        H.     "Identify" means and requires GS PEACHTREE to provide the following

information:

               (a)      With respect to each natural person:

                      (1)       The person's full name;

                      (2)       The person's last known home address and telephone

                        number;

                       (3)      The person's last known business address and telephone

                                number;

                      (4)       The name ofthe person's last known employer or business

                        affiliation; and

                      (5)       The person's last known title or business position.

               (b)      With respect to a person other than a natural person:

                      (1)       Name;

                      (2)       Place of incorporation, or location of where certificates of

                        partnership or association are filed; and

                      (3)       Principal place of business.

               (c)      With respect to a document, either:

                      (1)       Produce the document pursuant to 0.C.G.A. § 9-11-34; or

                      (2)       Identify the author, date, recipient and type of document.
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                                     INTERROGATORIES

                                                   1.

       State the name and address of any person, including any party, who, to your knowledge,

information or belief:

      (a)      Was an eyewitness to the incident complained of in this action;

      (b)      Has some knowledge of any fact or circumstance upon which your defense is

               based;

      (c)      Has conducted any investigation relating to the incident complained of or the

               background, employment, medical history or activities of Plaintiff.

                                                   2.

       To your knowledge, information or belief, has any person identified in answering the

preceding interrogatory given any statement or report in connection with this action? If so, describe

such statement or report and give the name and address of the person having custody and control

thereof.

                                                   3.

       Please identify any entity or person with any financial interest, lease or ownership interest in

the premises where the incident occurred on the date ofthe incident.

                                                  4.

       To your knowledge, information or belief, are there any videotapes, photographs, plats or

drawings ofthe scene of and/or the incident referred to in the complaint? If so, please describe such

videotapes, photographs, plats or drawings and give the name and address of the person having

custody and control thereof.
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                                                    5.

        Please identify each person working on the premises with any duties for or related to the

area where this incident occurred on the date of or at any time prior to the incident at issue.

                                                    6.

        Has any entity issued a policy of liability insurance to you that would apply to the incident at

issue? If so, state the names of all insurers providing liability insurance and give the limits of

coverage of each such policy.

                                                    7.

        Has any insurer referred to above denied coverage or reserved its right to later deny

coverage under any such policy of liability insurance? If so, please explain.

                                                    8.

        Do you contend that Plaintiff caused or contributed to the incident in question? If so, state

with particularity each and every contention made in this regard.

                                                    9.

        If you intend to call any expert or technician as a witness at the trial of this action, state

the subject matter on which he/she is expected to_testify and state in detail the opinions held by

each such expert or technician and give a complete summary of the grounds for each opinion

held.

                                                    10.

        Please state in detail any policies and procedures concerning the inspection, cleaning,

maintenance, or repair of the area where this incident occurred.
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                                                   11.

        In regard to any document that has not been produced on grounds of privilege, please

state the following:

       (a)      The date each document was generated;

       (b)      The person generating each document;

       (c)      The present custodian of each document;

       (d)      A description of each document.

                                                   12.

        Please identify each and every person working for you or on your behalf on the premises

where this incident occurred at any time, including the person's name, current address, current

employer and telephone number.

                                                   13.

        Have there ever been any complaints made about the area where this incident occurred?

If so, please state:

       (a)      The date(s) of each complaint;

       (b)      The person(s) making each complaint;

       (c)      The nature of each complaint;

       (d)      Any action taken as a result of each complaint.

                                                   14.

        Please identify each and every witness or employee in the vicinity of the area where Plaintiff

was injured. In regard to each employee, please state:

       (a)      The name of each person;
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        (b)     The address of each person;

       (c)      The telephone number ofeach person;

       (d)      The shift worked by each person if an employee;

       (e)      The job duties and responsibilities of each person if an employee.

                                                    15.

        Have there been any audits, inspections or evaluations of the specific area at issue in this

incident prior to or subsequent to the date ofthe incident?

                                                    16.

        Are there any individuals or entities not named as parties to this action that you believe are

liable or could be liable for Plaintiff's injuries and damages such that you would seek to apportion

damages to said individual or entity at trial? If there are, please identify all such individuals and/or

entities.

                                                    17.

        Identify the person or persons responsible for preparing your responses to these

Interrogatories, and identify each person who was consulted, and each document referred to, and

the process of preparing such responses.

                                                  18.

        Please describe any inspection procedures utilized in regard to the area where this

incident occurred.

                                                  19.

        Identify your policies and procedures with regard to ensuring that the walking areas at Cyan
on Peachtree, located at 3380 Peachtree Road NE, Atlanta, Georgia, 30326 are safely maintained.
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                                                20.

        Identify whether or not any employee or agent of GS PEACHTREE was notified of the

condition of the liquid substance prior to Plaintiff's injury. If so, please state who reported the

condition, what was said, when the condition was reported, and any action taken in response.

                                                21.

        Identify any citations, warnings, reprimands, suits, causes of action or other similar

notices you have received in the last five years regarding violation of any local, state, and/or

federal codes, rules, laws, or regulations.

                                                22.

       Identify any and all lawsuits you have been a party to in Georgia in the last 7 years. State

the parties,jurisdiction, brief description of the claims at issue, and the outcome.

       This the 19th day of January, 2022.

                                                      /s/Allen Hoffman
                                                      Eric L. Jensen
                                                      Georgia Bar No. 391259
                                                      Allen Hoffman
                                                      Georgia Bar No. 964123
                                                      Riley B. Liu
                                                      Georgia Bar No.: 879655
                                                      Jessica Burkhart
                                                      Georgia Bar No.493002
                                                      Attorneysfor Plaintiff



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6111 Peachtree Dunwoody Road
Building G, Suite 201
Atlanta, Georgia 30328
Telephone:(404)842-9380
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ejensen@eljlegal.com
jburkhart@eljlegal.com
ahoffman@eljlegal.com
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                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

BIANCA JOHNSON,

            Plaintiff.
V.                                                        CIVIL ACTION FILE NO.
                                                               22-C-00305-S4
GREYSTAR     REAL      ESTATE
PARTNERS, LLC, GS PEACHTREE
PROJECT OWNER, LLC, BEHRINGER
HARVARD PEACHTREE PROJECT
OWNER,LLC, AND JOHN DOES 1-3

           Defendants.

 PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO GS PEACHTREE PROJECT
                             OWNER LLC

       COMES NOW Plaintiff and requests pursuant to 0.C.G.A. § 9-11-36(a)that Defendant GS

Peachtree Project Owner, LLC ("GS PEACHTREE") admit the matters set forth below, or deny

same in writing, within forty-five (45) days from the date of service hereof. The definitions and

instructions in Plaintiff's First Interrogatories and Requests for Production of Documents to GS

PEACHTREE are incorporated herein by reference.

       GS PEACHTREE is requested to admit that:

                                                1.

       The property location that is the subject of the action is located at 3380 Peachtree Road

NE, Atlanta, Georgia, 30326 ("the Premises").

                                                2.

       GS PEACHTREE may be served with a copy of the summons and Complaint in this

action at CT Corporation System, 289 S. Culver Street, Lawrenceville, Georgia, 30046.

                                                3.

       GS PEACHTREE is subject to the jurisdiction of this Court.
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                                                 4.

        Venue is proper in this Court.

                                                 5.

        On July 12, 2020, Plaintiff was an invitee at the Premises, located at 3380 Peachtree Road

NE, Atlanta, Georgia, 30326.

                                                 6.

        On July 12, 2020,Plaintiff was walking into the Premises, and fell on a liquid substance.

                                                 7.

        There were no warnings in the area where the subject incident occurred of the hazardous

condition that existed at the time.

                                                 8.

        GS PEACHTREE had actual or constructive knowledge of the dangerous condition

created by the liquid substance at the time of Plaintiffs injury on July 12, 2020.

                                                9.

        GS PEACHTREE caused this incident by failing to maintain and/or inspect the Premises

and/or properly secure its walking surfaces

                                                10.

        GS PEACHTREE had a duty to exercise ordinary care to keep the Premises safe for

invitees.

                                                11.

       Plaintiffs injury was caused solely by GS PEACHTREE's negligence.
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                                                12.

       GS PEACHTREE employed individuals responsible for inspecting, and maintaining the

area where Plaintiff was injured.

                                                13.

       GS PEACHTREE is responsible for the conduct of its employees committed within the

scope of their employment under the doctrine of respondeat superior, agency, or apparent

agency.

                                                14.

       GS PEACHTREE's employees had a duty to exercise ordinary care to keep the premises

and approaches safe for invitees, including the area of the subject incident.

                                                15.

       GS PEACHTREE is required to perform appropriate inspection, cleaning, stocking, and

maintenance on the Premises.

                                                16.

       GS PEACHTREE's employees were responsible for inspecting, repairing, cleaning, and

maintaining the Premises.

                                                17.

       GS PEACHTREE is required to adopt policies and procedures to ensure that the

appropriate inspection, cleaning, stocking, and maintenance are performed on the Premises.

                                                18.

       GS PEACHTREE is required to train their employees and agents on the policies and

procedures to ensure that the appropriate inspection, cleaning, stocking, and maintenance are

performed on the Premises.
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                                               19.

        GS PEACHTREE failed to perform appropriate inspection, cleaning, stocking, and

maintenance on the Premises on the date of the incident at issue.



                                               20.

        GS PEACHTREE failed to train their employees and agents on the policies and

procedures to ensure that the appropriate inspection, cleaning, stocking, and maintenance were

performed on the Premises on the date ofthe incident at issue.

                                               21.

        GS PEACHTREE was negligent in failing to adopt appropriate policies and procedures to

make sure that appropriate inspections, cleaning, stocking, and maintenance were performed on

the premises.

                                               22.

        GS PEACHTREE was negligent in failing to train its employees concerning safety

procedures for inspecting, cleaning, stocking, and maintaining the Premises.

                                               23.

        As a result of GS PEACHTREE's negligence in training and supervising its employees,

Plaintiff was injured on July 12, 2020.

                                               24.

        As a direct result of GS PEACHTREE's negligent actions, Plaintiff suffered severe

injuries.
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                                             25.

        As a proximate result of GS PEACHTREE's negligent actions, Plaintiff suffered severe

injuries.

                                             26.

        As a direct result of GS PEACHTREE's negligent actions, Plaintiff suffered emotional

injuries.



                                             27.

        As a proximate result of GS PEACHTREE's negligent actions, Plaintiff suffered

emotional injuries.

                                            28.

        As a direct result of GS PEACHTREE's negligent actions, Plaintiff suffers continuing

pain.

                                            29.

        As a proximate result of GS PEACHTREE's negligent actions, Plaintiff suffers

continuing pain.

                                            30.

        As a direct result of GS PEACHTREE's negligent actions, Plaintiff suffers continuing

discomfort.

                                            31.

        As a proximate result of GS PEACHTREE's negligent actions, Plaintiff suffers

continuing discomfort.
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                                               32.

       As a direct result of GS PEACHTREE's negligent actions, Plaintiff has incurred medical

expenses.

                                               33.

       As a direct result of GS PEACHTREE's negligent actions, Plaintiff will continue to incur

medical experises.

                                               34.

       As a proximate result of GS PEACHTREE's negligent actions, Plaintiff has incurred

medical expenses.

                                               35..

       As a proximate result of GS PEACHTREE's negligent actions, Plaintiff will continue to

incur medical expenses.

                                               36.

        Plaintiff is entitled to recover all damages suffered as a result of the incident described

in the Complaint in this matter.

                                               37.

       Plaintiff is entitled to monetary damages from GS PEACHTREE to compensate her for

past and future medical expense.

                                               38.

       Plaintiff is entitled to monetary damages from GS PEACHTREE to compensate her for

past and future pain and suffering.
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                                              39.

       As a proximate result of GS PEACHTREE's negligence, Plaintiff suffered special

damages.

                                              40.

       GS PEACHTREE has been stubbornly litigious, acted in bad faith, and has caused

Plaintiff to incur unnecessary trouble and expense for which he is entitled to recover attorney's

fees, costs, and expenses, pursuant to 0.C.G.A. § 13-6-11.



       This the 19th day of January, 2022.

                                                    /s/ Allen Hoffman
                                                    Eric L. Jensen
                                                    Georgia Bar No. 391259
                                                    Jessica Burkhart
                                                    Georgia Bar 493002
                                                    Allen Hoffman
                                                    Georgia Bar No.964123
                                                    Riley Liu
                                                    Georgia Bar No. 879655
                                                    Attorneysfor Plaintiff(s)




Jensen Law,LLC
6111 Peachtree Dunwoody Road
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Atlanta, Georgia 30328
Telephone:(404)842-9380
Facsimile:(678)904-3110
      Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 82 of 148

                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    01/20/2022
                                                                                                    CT Log Number 540909608
TO:         Elena Diaz
            Greystar Real Estate Partners, LLC
            465 MEETING ST STE 500
            CHARLESTON, SC 29403-4832

RE:         Process Served in Georgia

FOR:        BEHRINGER HARVARD PEACHTREE PROJECT OWNER, LLC (Former Name) (Domestic State: DE)
            GS Peachtree Project Owner, LLC (True Name)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  Re: Bianca Johnson // To: GS Peachtree Project Owner, LLC
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # 22C00305S4
NATURE OF ACTION:                                 Personal Injury - Slip/Trip and Fall
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Lawrenceville, GA
DATE AND HOUR OF SERVICE:                         By Process Server on 01/20/2022 at 13:55
JURISDICTION SERVED :                             Georgia
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 01/20/2022, Expected Purge Date:
                                                  01/25/2022

                                                  Image SOP

                                                  Email Notification, Paul Henderson paul.henderson@greystar.com

                                                  Email Notification, Elena Diaz ctsop@greystar.com

                                                  Email Notification, Jill Streett jill.streett@greystar.com

                                                  Email Notification, John Napier jnapier@greystar.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  289 S. Culver St.
                                                  Lawrenceville, GA 30046
                                                  866-203-1500
                                                  DealTeam@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
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advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
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                                                                                                    Page 1 of 1 / GP
              Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 83 of 148
                                                                                                              E-FILED IN OFFICE - RJ
                                                                                                            CLERK OF STATE COURT
                                                                                                        GWINNETT COUNTY, GEORGIA
                             IN THE STATE COURT OF GWINNETT COUNTY                                                22-C-00305-S4
                                                                                                             1/18/2022 10:53 AM
                                                                                                            TIANA P. GARNER,CLERK
                                                 STATE OF GEORGIA
       BIANCA JOHNSON



                                                                                   CIVIL ACTION         22-C-00305-S4
                                                                                   NUMBER:

                                  PLAINTIFF


                      Vs.

 I3EHRINGER HARVARD PEACHTREE PROJECT OWNER,LLC,




                                  DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:                 BEHRINGER HARVARD PEACHTREE PROJECT OWNER,LLC,

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
  Jensen Law, LLC
  Attn: Allen Hoffman
  6111 Peachtree Dunwoody Rd.
  Building G, Ste. 201
  Atlanta, Georgia 30328

an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so,judgment by default will be taken against you for the relief demanded in the complaint.
                                  18th day of January, 2022
This                     day of                                           , 20


                                                                            Tiana P. Garner
                                                                           Clerk of State Court



                                                                           By
                                                                                       Deputy Cleric"

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
      Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 84 of 148 E-FILED IN OFFICE - RJ
                                                                                         CLERK OF STATE COURT
                                                                                     GWINNETT COUNTY, GEORGIA
                                                                                                22-C-00305-S4
                                                                                           1/18/2022 10:53 AM
                                                                                        TIANA P. GARNER,CLERK

                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

 BIANCA JOHNSON,

              Plaintiff.
 V.                                                         CIVIL ACTION FILE NO.

 GREYSTAR REAL ESTATE                                                      22-C-00305-S4
 PARTNERS,LLC, GS PEACHTREE
 PROJECT OWNER,LLC,BEHRINGER
 HARVARD PEACHTREE PROJECT
 OWNER,LLC, AND JOHN DOES 1-3

             Defendants.

                                           COMPLAINT

        COMES NOW Plaintiff, Bianca Johnson, and files her Complaint through undersigned

counsel, and respectfully shows the Court as follows:

                                                   1.

        Plaintiff is a resident of the State of Georgia.

                                                  2.

        Defendant Greystar Real Estate Partners,LLC("Greystar")is a South Carolina corporation

and may be served with a copy of the Summons and Complaint by serving its registered agent

located at CT Corporation System, 2 Office Park Court, Suite 103, Columbia, South Carolina,

29223. Defendant is subject to the jurisdiction of this Court. Venue is proper.

                                                  3.

        Defendant GS Peachtree Project Owner, LLC ("Peachtree Project") is a South Carolina

corporation and may be served with a copy of the Summons and Complaint by serving its

registered agent located at CT Corporation System, 289 S. Culver Street, Lawrenceville, Georgia,

30046. Defendant is subject to the jurisdiction of this Court. Venue is proper.
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                                                    4.

        Defendant Behringer Harvard Peachtree Project Owner, LLC ("Behringer Harvard") is a

South Carolina corporation and may be served with a copy of the Summons and Complaint by

serving its registered agent located at CT Corporation System,289 S. Culver Street, Lawrenceville,

Georgia, 30046. Defendant is subject to the jurisdiction of this Court. Venue is proper

                                                    5.

        John Does 1 — 3 ("Does") are or may be individuals and/or entities with ownership

interest(s) in the Property at issue, parties responsible for managing, maintaining, cleaning and/cr

keeping the common areas of the Property at issue safe for invitees, and/or parties who attempted

to repair, clear, and/or remediate the common areas, including the location ofPlaintiff's incident.

                                                    6.

        On July 12, 2020, Plaintiff was an invitee at Cyan on Peachtree, located at 3380 Peachtree

Road NE, Atlanta, Georgia, 30326("the Property").

                                                    7.

        As Plaintiff was walking into the Property, Plaintiff slipped and fell in a liquid substance.

                                                    8.

        Defendants knew or should have known a hazardous condition existed and failed to take

action to remediate the hazardous condition or warn invitees of the hazardous condition.

                                                    9.

        There were no warnings in the area where the subject incident occurred of the hazardous

condition that existed at the time.

                                                   10.

        As a result of the fall, Plaintiff suffered injuries.




                                                    2
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                                                 11.

       Defendants caused this incident by failing to maintain the premises, failing to inspect the

premises, and/or failing to ensure the floor was free of hazards.

                                                 12.

       Plaintiff's fall was caused solely by Defendants' negligence.

                                                 13.

       Defendants were negligent because they failed to maintain, inspect, and clean the premises

where Plaintiff fell, even though they had superior, actual, and/or constructive knowledge of the

hazardous condition.



                                COUNT I: PREMISES LIABILITY

                                                 14.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.

                                                15.

       Plaintiff was an invitee on the Property at the time of the incident.

                                                 16.

       Defendants had a duty to exercise ordinary care to keep the Property safe for invitees,

including floors.

                                                17.

       Defendants failed to exercise that duty by failing to maintain, inspect and/or properly

cleaning in the area which caused Plaintiff's injuries.




                                                 3
    Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 87 of 148




                                                 18.

       Defendants failed to exercise that duty by failing to ensure their floors were secure.

                                                 19.

       Defendants' failure and the corresponding actions described in this Complaint constitute

negligence.

                                                 20.

       As a direct and proximate result of Defendants' negligence, Plaintiff suffered bodily

injuries, emotional injuries, continuing pain, suffering and discomfort, diminished quality of life,

and medical expenses.

                                                21.

       As a direct and proximate result of Defendants' negligence, Plaintiff suffered injuries and

damages. Plaintiff is entitled to monetary damages from Defendants to compensate her for the

following elements of damage:

               a.       Medical expense;

               b.       Pain and suffering;

              c.        Mental anguish;

               d.       Lost wages; and

               e.       Diminished quality of life.

                                                22.

       As a proximate result ofDefendants' negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center         $        244.00
                   Taylor Chiropractic                    $      6,755.00
                   Comprehensive Spine & Pain             $    372,389.60
                   Regional Medical Group                 $      1,357.00



                                                 4
     Case 1:22-cv-00697-TWT Document 1-1 Filed 02/18/22 Page 88 of 148




                   Perimeter Anesthesia                     $      4,595.00
                   TOTAL SPECIAL DAMAGES                    $    388,140.60

                                                  23.

          Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                              COUNT II: VICARIOUS LIABILITY

                                                 24.

       Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.

                                                 25.

          At all times relevant to this action, John Does and/or employed individuals of Defendants,

were responsible for inspecting, cleaning and maintaining the area where Plaintiff was injured.

                                                 26.

       Defendants are responsible for the conduct of its employees and/or agents under the

doctrines ofrespondeat superior, agency or apparent agency.




                                                  5
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                                                27.

       The employees and/or agents had a duty to exercise ordinary care to keep the Property safe

for invitees, including the area where Plaintiff was injured.

                                                28.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly clean the floors, which caused Plaintiff's injuries.

                                                29.

       The employees and/or agents failed to exercise that duty by failing to maintain, inspect,

and/or properly cleaning the floors, which caused Plaintiff's injuries.

                                                30.

        As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered bodily injuries, emotional injuries,

continuing pain, suffering and discomfort, diminished quality of life, and medical expenses.

                                                31.

        As a direct and proximate result of the negligence of the employees and/or agents, for

which Defendants are vicariously liable, Plaintiff suffered injuries and damages. Plaintiff is

entitled to monetary damages from Defendants to compensate her for the following elements of _

damage:

               f.      Medical expense;

               a.      Pain and suffering;

               b.      Mental anguish;

               c.      Lost wages; and

               d.      Diminished quality of life.




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                                                  32.

          As a proximate result ofthe Employees' negligence, for which Defendants are vicariously

liable, Plaintiff suffered special damages no less than as follows:

                   Kaiser Gwinnett Medical Center           $        244.00
                   Taylor Chiropractic                      $      6,755.00
                   Comprehensive Spine & Pain               $    372,389.60
                   Regional Medical Group                   $      1,357.00
                   Perimeter Anesthesia                     $      4,595.00
                   TOTAL SPECIAL DAMAGES                    $    388.140.60


                                                  33.

          Defendants have been stubbornly litigious, acted in bad faith, and have caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

          WHEREFORE,Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses

pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

                   COUNT III: NEGLIGENT TRAINING & SUPERVISION

                                                 34.

          Plaintiff incorporates by reference each earlier paragraph of this Complaint with the full

force and effect as if they were restated verbatim.




                                                  7
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                                               35.

       Defendants are required to adopt policies and procedures to ensure sure that appropriate

inspections, cleaning and maintenance were performed on the premises.

                                               36.

       Defendants are required to train its employees concerning safety procedures for inspecting,

repairing, cleaning and maintaining the premises.

                                               37.

       Defendants are negligent for failing to adopt policies and procedures to make sure that

appropriate inspections, cleaning, and maintenance were performed on the property.

                                               38.

       Defendants are negligent for failing to train its Employees concerning safety procedures

for inspecting, cleaning and maintaining the premises.

                                               39.

       Defendants were negligent in the training and supervising ofemployees.

                                               30.

       Alternatively, Defendants were negligent by failing to ensure its Employees followed its

safety procedures for inspecting, cleaning and maintaining the premises where Plaintiff was

injured.

                                               41.

       As a result of Defendants' negligence, Plaintiff was injured.

                                               42.

       As a result of Defendants' negligence in training and supervising its Employees,Plaintiff was

injured.




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                                                43.

       As a direct and proximate result ofDefendants' negligence, Plaintiff is entitled to monetary

damages from Defendants to compensate her for the following elements of damage:

               a.       Medical expense;

               b.       Pain and suffering;

               c.       Mental anguish;

               d.       Lost wages, and

               e.       Diminished quality of life.

                                                44.

       As a proximate result ofDefendants' negligence, Plaintiff suffered special damages no less

than as follows:

                   Kaiser Gwinnett Medical Center         $       244.00
                   Taylor Chiropractic                    $     6,755.00
                   Comprehensive Spine & Pain             $   372,389.60
                   Regional Medical Group                 $     1,357.00
                   Perimeter Anesthesia                   $     4,595.00
                   TOTAL SPECIAL DAMAGES                  $   388.140.60


                                                45.

       Defendants have been stubbornly litigious, acted in bad faith, and has caused Plaintiff to

incur unnecessary trouble and expense for which she is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.

       WHEREFORE, Plaintiff demands judgment against Defendants for special damages in an

amount to be proven at trial, but no less than $388.140.60, for general damages for past, present,

and future pain and suffering and loss of enjoyment of life in amounts to be determined at trial,

together with pre and post judgment interest as allowed by law, attorney's fees, costs, expenses



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pursuant to 0.C.G.A. § 13-6-11, and for such other and further relief as this Court deems just and

proper.

          This the 18th day of January, 2022.

                                                     /s/Allen Hoffman
                                                     Eric L. Jensen
                                                     Georgia Bar No. 391259
                                                     Allen Hoffman
                                                     Georgia Bar No.964123
                                                     Riley B. Liu
                                                     Georgia Bar No.: 879655
                                                     Jessica Burkhart
                                                     Georgia Bar No.493002
                                                     Attorneysfor Plaintiff



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                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

 BIANCA JOHNSON,

             Plaintiff.
 V.                                                         CIVIL ACTION FILE NO.
                                                                22-C-00305-S4
 GREYSTAR REAL ESTATE
 PARTNERS,LLC, GS PEACHTREE
 PROJECT OWNER,LLC,BEHRINGER
 HARVARD PEACHTREE PROJECT
 OWNER,LLC, AND JOHN DOES 1-3

             Defendants.

       PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
           BEHRINGER HARVARD PEACHTREE PROJECT OWNER,LLC

        COMES NOW Plaintiff and serves her first requests for production of documents on

Defendant     BEHRINGER         HARVARD         PEACHTREE            PROJECT     OWNER,       LLC

("BEHRINGER") pursuant to 0.C.G.A. § 9-11-34. BEHRINGER is requested to produce for

inspection and copying the documents requested herein at the offices of counsel for Plaintiff,

Jensen Law, LLC, 6111 Peachtree Dunwoody Road, Building G, Suite 201, Atlanta, Georgia

30328 no later than forty-five (45)days after the date of service.

        BEHRINGER is further reminded that the provisions of 0.C.G.A. § 9-11-26(e) require a

responding party to supplement its responses in the manner provided.

       Ifprivilege is claimed as to any document otherwise covered by this request for production,

Plaintiff requests that each document as to which privilege is claimed be identified in a manner

such that the Court may determine whether or not such document is entitled to the accorded

privileged status. Specifically, state (a) the document's sender or author, recipient, date, type of

document (e.g., letter, memorandum, record, etc.) and general subject matter; and (b) the basis
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upon which you claim the privilege. Plaintiff refers to and incorporates the "Definitions" provided

in her first Interrogatories to BEHRINGER.

       Please produce the following:

                                                 1.

        Any invoices, inspection reports, receipts, change orders, work orders, spreadsheets,

computer documents or other similar records concerning any audits, evaluations, maintenance,

cleaning or inspections of the area where Plaintiff was injured for the past five years.

                                                 2.

        All statements or reports collected referencing the incident at issue.

                                                 3.

        All videotapes, photographs, plats or drawings depicting the incident and/or area at issue

for four hours prior to the incident up to and including the time ofthe incident and thirty minutes

after the incident.

                                                 4.

        Any videotape, photograph, report, data, memoranda, handwritten notes or other document

reviewed by or generated by an individual identified in response to Interrogatories 1, 2, and/or 9.

                                                 5.

        Any documents obtained through a request for production of documents or subpoena in

relation to this case.

                                                 6.

        Any and all guidelines, manuals, memoranda or other documents evidencing any policy or

procedure identified in response to Interrogatories 10, 18, or 19.
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                                                7.

        Any correspondence, memoranda, report, record or other documents concerning,

referencing or depicting any complaints identified in response to Interrogatory 13.

                                                8.

        Any incident report or other report concerning the incident described in the complaint.

                                                9.

        Any maps, schematics, diagrams, drawings or other similar documents showing the layout

of the area where this incident occurred.

                                               10.

        Any and all leases or contracts with outside contractors or agencies for performance of

maintenance services for the area where the subject incident occurred.

                                               1 1.

        Any e-mail, interoffice correspondence, memoranda, report, telephone log, message or

other documents concerning the subject incident.

                                               12.

        Any changes made to policies, procedures, protocols, rules, regulations and guidelines

since this incident.

                                               13.

        Any surveillance videos taken on the day of the incident.

                                               14.

       Documents containing policies, rules, procedures, for safely repairing common areas.

                                               15.

       Documents relating to maintenance of the area where Plaintiff fell and injured herself.
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                                              16.

      Photographs or video of the subject area prior to the subject incident.



      This the 19th day of January, 2022.

                                                    /s/Allen Hoffman
                                                    Eric L. Jensen
                                                    Georgia Bar No. 391259
                                                    Allen Hoffman
                                                    Georgia Bar No.964123
                                                    Riley B. Liu
                                                    Georgia Bar No.: 879655
                                                    Jessica Burkhart
                                                    Georgia Bar No.493002
                                                    Attorneysfor Plaintiff



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                          IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

BIANCA JOHNSON,

             Plaintiff.
V.                                                           CIVIL ACTION FILE NO.
                                                                 22-C-00305-54
GREYSTAR     REAL      ESTATE
PARTNERS, LLC, GS PEACHTREE
PROJECT OWNER, LLC, BEHRINGER
HARVARD PEACHTREE PROJECT
OWNER,LLC, AND JOHN DOES 1-3

             Defendants.

                   PLAINTIFF'S FIRST INTERROGATORIES TO
             BEHRINGER HARVARD PEACHTREE PROJECT OWNER,LLC
        COMES NOW Plaintiff and requests pursuant to 0.C.G.A. § 9-11-36(a) that Defendant

BEHRINGER HARVARD PEACHTREE PROJECT OWNER, LLC ("BEHRINGER") to

respond to the following Interrogatories under oath within forty-five (45) days from the date of

service of these Interrogatories upon it.

                                            DEFINITIONS

        The following definitions shall apply to these Interrogatories:

        A.     "You" and "your" shall mean and refer to BEHRINGER, all its agents, employees,

attorneys, accountants, subsidiary or affiliated corporations, representatives or other persons acting

or purporting to act on its behalf.

        B.      "Person" shall mean and include any natural person, firm, partnership, trust, estate,

association, corporation, proprietorship,joint venture, governmental body, governmental agency or

commission or any other organization or entity whether or not recognized as such by law.

        C.      "Document" is intended to have the broadest permissible meaning under the Civil

Practice Act, and includes, without limitation, recordings, imprintings or otherwise preserving
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statements, images, sounds, and/or any other form of information, whether printed or recorded or

reproduced by any mechanical or electronic process, or written or produced by hand, books,

magazines, pamphlets, bulletins, publications, letters, emails, tweets, Facebook, Myspace, or other

social networking messages, telegraphs, telegrams, cables, notes, messages, diaries, calendars,

appointment books, time sheets, logs, schedules, memorandum, interoffice and intra-office

communications, reports, working papers, diagrams, drawings, drafts, tabulations, indexes,

statements, receipts, warranties, summaries, electronic mail transfers, teletypes, telefaxes,

telecopies, worksheets, meeting minutes, recordings, sketches, graphs, charts, engineering

notebooks, tapes, disks, electronic recording data sheets, data processing cards or other data

computations, photographs, movies, assignments, contracts, agreements, official documents and

legal instruments, annual reports and reports to shareholders and partners, and minutes or reports of

minutes of directors or executive boards or committees, advertising or promotional literature and

press releases, studies, analyses, agenda, telephone logs, jottings, announcements, instructions,

ledgers, checks (front and back), check stubs, bills, orders, records, or any other written, recorded,

transcribed, punched,taped, filmed or graphic matter however produced or reproduced.

       D.      "Relates to" or "relating to" shall be construed to include "refers to," "summarizes,"

"constitutes," "contains," "studies," "analyzes," "considers," "explains," "mentions," "shows,"

"discusses," "describes" or "comments upon."

       E.      "Communication" shall mean any verbal, written or other transmittal of words,

thoughts, ideas or images between or among persons or groups of persons whether face-to-face, by

letter, or by any other means.

       F.      "And" and "or" shall be construed conjunctively and disjunctively so as to require

the broadest possible response to the particular request.
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        G.     "Affiliates" shall mean and include any person or entity that directly or indirectly

controls, is controlled by, or is under common control with another person or entity, with "control"

meaning an ownership interest of more than 50 percent of the stock or other ownership interests or

the ability to direct the voting of more than 50 percent ofthe voting rights of an entity.

       H.      "Identify" means and requires BEHRINGER to provide the following information:

              (a)       With respect to each natural person:

                      (1)       The person's full name;

                      (2)       The person's last known home address and telephone

                        number;

                      (3)       The person's last known business address and telephone

                                number;

                      (4)       The name of the person's last known employer or business

                        affiliation; and

                      (5)       The person's last known title or business position.

              (b)       With respect to a person other than a natural person:

                      (1)       Name;

                      (2)       Place of incorporation, or location of where certificates of

                        partnership or association are filed; and

                      (3)       Principal place of business.

              (c)       With respect to a document, either:

                      (1)       Produce the document pursuant to 0.C.G.A. § 9-11-34; or

                      (2)       Identify the author, date, recipient and type of document.
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                                     INTERROGATORIES

                                                   1.

       State the name and address of any person, including any party, who, to your knowledge,

information or belief:

      (a)      Was an eyewitness to the incident complained of in this action;

      (b)      Has some knowledge of any fact or circumstance upon which your defense is

               based;

      (c)      Has conducted any investigation relating to the incident complained ofor the

               background, employment, medical history or activities ofPlaintiff.

                                                   2.

       To your knowledge, information or belief, has any person identified in answering the

preceding interrogatory given any statement or report in connection with this action? If so, describe

such statement or report and give the name and address of the person having custody and control

thereof.

                                                   3.

       Please identify any entity or person with any financial interest, lease or ownership interest in

the premises where the incident occurred on the date ofthe incident.

                                                  4.

       To your knowledge, information or belief, are there any videotapes, photographs, plats or

drawings ofthe scene of and/or the incident referred to in the complaint? If so, please describe such

videotapes, photographs, plats or drawings and give the name and address of the person having

custody and control thereof.
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                                                    5.

        Please identify each person working on the premises with any duties for or related to the

area where this incident occurred on the date of or at any time prior to the incident at issue.

                                                    6.

        Has any entity issued a policy of liability insurance to you that would apply to the incident at

issue? If so, state the names of all insurers providing liability insurance and give the limits of

coverage ofeach such policy.

                                                    7.

        Has any insurer referred to above denied coverage or reserved its right to later deny

coverage under any such policy of liability insurance? If so, please explain.

                                                    8.

        Do you contend that Plaintiff caused or contributed to the incident in question? If so, state

with particularity each and every contention made in this regard.

                                                    9.

        If you intend to call any expert or technician as a witness at the trial of this action, state

the subject matter on which he/she is expected to testify and state in detail the opinions held by

each such _expert or technician and give a complete summary of the grounds for each opinion- -

held.

                                                    10.

        Please state in detail any policies and procedures concerning the inspection, cleaning,

maintenance, or repair of the area where this incident occurred.
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                                                  11.

        In regard to any document that has not been produced on grounds of privilege, please

state the following:

       (a)      The date each document was generated;

       (b)      The person generating each document;

       (c)      The present custodian of each document;

       (d)      A description of each document.

                                                  12.

        Please identify each and every person working for you or on your behalf on the premises

where this incident occurred at any time, including the person's name, current address, current

employer and telephone number.

                                                  13.

        Have there ever been any complaints made about the area where this incident occurred?

If so, please state:

       (a)      The date(s) of each complaint;

       (b)      The person(s) making each complaint;

       (c)      The nature of each complaint;

       (d)      Any action taken as a result of each complaint.

                                                  14.

        Please identify each and every witness or employee in the vicinity ofthe area where Plaintiff

was injured. In regard to each employee, please state:

       (a)      The name ofeach person;

       (b)      The address of each person;
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        (c)     The telephone number ofeach person;

       (d)     The shift worked by each person if an employee;

       (e)     The job duties and responsibilities of each person if an employee.

                                                    15.

        Have there been any audits, inspections or evaluations of the specific area at issue in this

incident prior to or subsequent to the date ofthe incident?

                                                    16.

        Are there any individuals or entities not named as parties to this action that you believe are

liable or could be liable for Plaintiff's injuries and damages such that you would seek to apportion

damages to said individual or entity at trial? If there are, please identify all such individuals and/or

entities.

                                                   17.

        Identify the person or persons responsible for preparing your responses to these

Interrogatories, and identify each person who was consulted, and each document referred to, and

the process of preparing such responses.

                                                  18.

        Please describe any inspection procedures utilized in regard to the area where -this

incident occurred.

                                                  19.

        Identify your policies and procedures with regard to ensuring that the walking areas at Cyan
on Peachtree, located at 3380 Peachtree Road NE,Atlanta, Georgia, 30326 are safely maintained.




                                                  20.
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        Identify whether or not any employee or agent of BEHRINGER was notified of the

condition of the liquid substance prior to Plaintiff's injury. If so, please state who reported the

condition, what was said, when the condition was reported, and any action taken in response.

                                                 21.

       Identify any citations, warnings, reprimands, suits, causes of action or other similar

notices you have received in the last five years regarding violation of any local, state, and/or

federal codes, rules, laws, or regulations.

                                                 22.

       Identify any and all lawsuits you have been a party to in Georgia in the last 7 years. State

the parties,jurisdiction, brief description of the claims at issue, and the outcome.

       This the 19th day of January, 2022.

                                                       /s/Allen Hoffman
                                                       Eric L. Jensen
                                                       Georgia Bar No. 391259
                                                       Allen Hoffman
                                                       Georgia Bar No. 964123
                                                       Riley B. Liu
                                                       Georgia Bar No.: 879655
                                                       Jessica Burkhart
                                                       Georgia Bar No.493002
                                                       Attorneysfor Plaintiff



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                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

BIANCA JOHNSON,

            Plaintiff.
V.                                                          CIVIL ACTION FILE NO.
                                                                22-C-00305-S4
GREYSTAR     REAL      ESTATE
PARTNERS, LLC, GS PEACHTREE
PROJECT OWNER, LLC, BEHRINGER
HARVARD PEACHTREE PROJECT
OWNER,LLC, AND JOHN DOES 1-3

            Defendants.

     PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO BEHRINGER HARVARD
                      PEACHTREE PROJECT OWNER,LLC

        COMES NOW Plaintiff and requests pursuant to 0.C.G.A. § 9-11-36(a) that Defendant

BEHRINGER HARVARD PEACHTREE PROJECT OWNER, LLC ("BEHRINGER") admit

the matters set forth below, or deny same in writing, within forty-five (45) days from the date of

service hereof. The definitions and instructions in Plaintiff's First Interrogatories and Requests for

Production of Documents to BEHRINGER are incorporated herein by reference.

        BEHRINGER is requested to admit that:

                                                  1.

        The property location that is the subject of the action is located at 3380 Peachtree Road

NE, Atlanta, Georgia, 30326("the Premises").

                                                 2.

        BEHRINGER may be served with a copy of the summons and Complaint in this action at

CT Corporation System, 289 S. Culver Street, Lawrenceville, Georgia, 30046.

                                                 3.

        BEHRINGER is subject to the jurisdiction of this Court.
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                                                 4.

        Venue is proper in this Court.

                                                 5.

        On July 12, 2020, Plaintiff was an invitee at the Premises, located at 3380 Peachtree Road

NE, Atlanta, Georgia, 30326.

                                                 6.

        On July 12, 2020, Plaintiff was walking into the Premises, and fell on a liquid substance.

                                                 7.

        There were no warnings in the area where the subject incident occurred of the hazardous

condition that existed at the time.

                                                 8.

        BEHRINGER had actual or constructive knowledge of the dangerous condition created

by the liquid substance at the time of Plaintiffs injury on July 12, 2020.

                                                9.

        BEHRINGER caused this incident by failing to maintain and/or inspect the Premises

and/or properly secure its walking surfaces

                                                10.

        BEHRINGER had a duty to exercise ordinary care to keep the Premises safe for invitees.

                                                11.

        Plaintiff's injury was caused solely by BEHR1NGER's negligence.

                                                12.

        BEHRINGER employed individuals responsible for inspecting, and maintaining the area

where Plaintiff was injured.
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                                                13.

       BEHRINGER is responsible for the conduct of its employees committed within the scope

of their employment under the doctrine of respondeat superior, agency, or apparent agency.

                                                14.

       BEHRINGER's employees had a duty to exercise ordinary care to keep the premises and

approaches safe for invitees, including the area of the subject incident.

                                                15.

       BEHRINGER is required to perform appropriate inspection, cleaning, stocking, and

maintenance on the Premises.

                                                16.

       BEHRINGER's employees were responsible for inspecting, repairing, cleaning, and

maintaining the Premises.

                                                17.

       BEHRINGER is required to adopt policies and procedures to ensure that the appropriate

inspection, cleaning, stocking, and maintenance are performed on the Premises.

                                                18.

       BEHRINGER is required to train their employees and agents on the policies •and

procedures to ensure that the appropriate inspection, cleaning, stocking, and maintenance are

performed on the Premises.

                                                19.

       BEHRINGER failed to perform appropriate inspection, cleaning, stocking, and

maintenance on the Premises on the date of the incident at issue.
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                                               20.

        BEHRINGER failed to train their employees and agents on the policies and procedures to

ensure that the appropriate inspection, cleaning, stocking, and maintenance were performed on

the Premises on the date ofthe incident at issue.

                                               21.

       BEHRINGER was negligent in failing to adopt appropriate policies and procedures to

make sure that appropriate inspections, cleaning, stocking, and maintenance were performed on

the premises.

                                               22.

       BERRINGER was negligent in failing to train its employees concerning safety

procedures for inspecting, cleaning, stocking, and maintaining the Premises.

                                               23.

        As a result of BEHRINGER's negligence in training and supervising its employees,

Plaintiff was injured on July 12, 2020.

                                               24.

        As a direct result of BEHRINGER's negligent actions, Plaintiff suffered severe injuries.

                                               25.

        As a proximate result of BEHRINGER's negligent actions, Plaintiff suffered severe

injuries.

                                               26.

        As a direct result of BEHRINGER's negligent actions, Plaintiff suffered emotional

injuries.
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                                               27.

        As a proximate result of BEHRINGER's negligent actions, Plaihtiff suffered emotional

injuries.

                                               28.

        As a direct result of BEHRINGER's negligent actions, Plaintiff suffers continuing pain.

                                               29.

        As a proximate result of 13E1-IRINGER's negligent actions, Plaintiff suffers continuing

pain.

                                               30.

        As a direct result of BEHRINGER's negligent actions, Plaintiff suffers continuing

discomfort.

                                               31.

        As a proximate result of BEHRINGER's negligent actions, Plaintiff suffers continuing

discomfort.

                                               32.

        As a direct result of BEHRINGER's negligent actions, Plaintiff has incurred medical

expenses.

                                               33.

        As a direct result of BEHRINGER's negligent actions, Plaintiff will continue to incur

medical expenses.

                                               34.

        As a proximate result of BEHRINGER's negligent actions, Plaintiff has incurred medical

expenses.
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                                                35.

       As a proximate result of BEHRINGER's negligent actions, Plaintiff will continue to

incur medical expenses.

                                                36.

        Plaintiff is entitled to recover all damages suffered as a result of the incident described

in the Complaint in this matter.

                                                37.

       Plaintiff is entitled to monetary damages from BEHRINGER to compensate her for past

and future medical expense.

                                                38.

       Plaintiff is entitled to monetary damages from BEHR1NGER to compensate her for past

and future pain and suffering.

                                               39.

       As a proximate result of BEHRINGER's negligence, Plaintiff suffered special damages.

                                               40.

       BEHRINGER has been stubbornly litigious, acted in bad faith, and has caused Plaintiff to

incur unnecessary trouble and expense for which he is entitled to recover attorney's fees, costs,

and expenses, pursuant to 0.C.G.A. § 13-6-11.



       This the 19th day of January, 2022.

                                                      /s/ Allen Hoffman
                                                      Eric L. Jensen
                                                      Georgia Bar No. 391259
                                                      Jessica Burkhart
                                                      Georgia Bar 493002
                                                      Allen Hoffman
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